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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TWIN MASTER FUND, LTD., TWIN     )
OPPORTUNITIES FUND, LP, AND TWIN )
SECURITIES, INC.,                )
                                 )
           Plaintiffs,           )                     Case No. 19-cv-3648
                                 )
      v.                         )                     JURY TRIAL DEMANDED
                                 )
AKORN, INC., RAJAT RAI, DUANE A. )
PORTWOOD, ALAN WEINSTEIN, RONALD )
M. JOHNSON, AND BRIAN TAMBI,     )
                                 )
           Defendants.           )



                                        COMPLAINT




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       Plaintiffs Twin Master Fund, Ltd., Twin Opportunities Fund, LP, and Twin Securities, Inc.

(collectively, “Plaintiffs”) are purchasers of the publicly traded securities of Akorn, Inc. (“Akorn,”

or the “Company”). Plaintiffs, through their undersigned attorneys, by way of this Complaint and

Jury Demand, for their federal securities and common law claims against Akorn and its present or

former executive officers and directors Rajat Rai, Duane A. Portwood, Alan Weinstein, Ronald

M. Johnson, and Brian Tambi (the “Individual Defendants,” and, collectively with Akorn, the

“Defendants”), allege the following upon personal knowledge as to themselves and their own acts,

and upon information and belief as to all other matters.

       Plaintiffs’ information and belief is based on, inter alia, an investigation by their attorneys,

which investigation includes, among other things, a review and analysis of: Akorn’s filings with

the United States Securities and Exchange Commission (“SEC”); public documents and media

reports concerning Akorn; analyst reports concerning Akorn; transcripts of Akorn conference calls

and earnings calls; federal regulations and interpretative guidance concerning pharmaceutical

manufacturing data integrity requirements; documents filed in the matter In re: Akorn, Inc. Data

Integrity Securities Litigation, Civ. A. No. 1:18-cv-01713 (N.D. Ill.) (the “Class Action”); and

documents filed in the matter Akorn, Inc. v. Fresenius Kabi AG, et al., C.A. No. 2018-0300-JTL

(Del. Ch.) (the “Merger Litigation”). Many of the facts supporting the allegations contained herein

are known only to Defendants or are exclusively within their custody and/or control. Plaintiffs

believe that further substantial evidentiary support will exist for the allegations in this Complaint

after a reasonable opportunity for discovery.
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                                      NATURE OF THE ACTION

          1.      This is an action to recover significant investment losses suffered as a result of a

massive fraud that has left Akorn – a once-vibrant multi-billion dollar pharmaceutical company –

in ruins.

          2.      The facts of this case are already beyond dispute, having been established by the

nation’s leading business court (and affirmed on appeal) following a multiday trial where

thousands of documents were introduced into evidence and hours of live witness testimony were

presented to the trial court.

          3.      After considering all of this evidence, the court concluded that – contrary to

Defendants’ public representations that Akorn was complying with government regulations

designed to protect the health and welfare of U.S. consumers – there was “overwhelming evidence

of widespread regulatory violations and pervasive compliance problems at Akorn.”1 The court

determined that – again, contrary to Defendants’ public representations – “Akorn did not have a

well-functioning quality system and lacked a meaningful culture of compliance.”

          4.      The situation was so bad inside Akorn that one expert opined at trial that Akorn’s

compliance infrastructure was worse than what he would expect to see at “a company that made

Styrofoam cups.” A Company consultant issued a report stating that Akorn’s data-integrity

violations were so severe that senior management could be subject to criminal liability.

          5.      Akorn is a U.S. pharmaceutical company that specializes in the development and

marketing of generic drugs. As a generic pharmaceutical company, Akorn is subject to the

regulatory requirements of the United States Food and Drug Administration (“FDA”). Compliance




1
    Unless otherwise noted, bold, italic emphasis has been added to quotations.

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with FDA regulations is an essential component of Akorn’s business. Additionally, Akorn is a

publicly traded company subject to the federal securities laws and regulated by the SEC.

       6.      The FDA’s regulations include certain “data integrity” requirements with which

pharmaceutical companies must comply.         Under these requirements, Akorn is obligated to

maintain data-integrity controls, including an effective information technology infrastructure, to

ensure that the data it submits to the FDA in support of its applications to market drugs are based

on reliable and accurate testing and manufacturing data.            A pharmaceutical company’s

implementation of FDA-mandated data-integrity controls is critical to the protection of the patients

who are prescribed FDA-approved drugs because those controls are designed to guarantee that

medications are safe, effective, and will not endanger the public health.

       7.      Unbeknownst to Plaintiffs and the rest of the market, between 2016 and 2018,

Defendants made material misrepresentations and omitted to disclose material information to

investors. They did this by assuring investors that Akorn was compliant with FDA regulations, by

emphasizing that the FDA had inspected and approved Akorn’s manufacturing facilities, and by

touting the “pipeline” of generic drugs that the FDA was supposedly on the verge of approving.

These statements were materially false and misleading, and failed to disclose material information

that Defendants were required to disclose.

       8.      When they made these misrepresentations, Defendants were acutely aware of

widespread and serious data-integrity issues at Akorn, as well as a complete lack of quality

assurance, compliance and disclosure controls at Akorn. Akorn senior management and its board

of directors were apprised of these issues through employee surveys, internal audits, and outside

consultant reports. However, they intentionally decided not to remediate, or even try to remediate,




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these significant problems within the Company. At least one member of senior management

knowingly submitted fabricated data to the FDA.

       9.      Defendants elected not to remediate these serious deficiencies – and to conceal the

truth from the investing public – because they wanted to sell the Company for their own personal

financial benefit. Each of the Individual Defendants held equity interests in the Company that

would result in them receiving multi-million-dollar payouts if Akorn was acquired by another

company. In 2017, Defendants took a big step toward achieving this goal when Akorn entered

into a merger agreement with Fresenius, an international healthcare company. Fresenius agreed

to purchase Akorn for $34 per share, which amounted to a total value of almost $5 billion.

       10.     After entering into the merger agreement, Defendants made additional

misrepresentations to the investing public to keep Akorn’s stock price inflated. They told investors

that between the signing of the merger agreement and the consummation of the merger, Akorn

would continue to operate its business in the ordinary course, including complying with FDA

regulations. However, Defendants did anything but that. Rather than operating as a responsible

pharmaceutical company that valued quality assurance and regulatory compliance, once the ink on

the merger agreement was dry, Akorn abandoned all of its quality control audits and ignored

existing compliance issues so that Akorn’s significant regulatory failures would not be disclosed

until after the merger closed.

       11.     In late 2017, a corporate whistleblower sent Fresenius a letter revealing some of the

widespread regulatory violations and pervasive compliance problems that Akorn was concealing

from the public. In response, Fresenius hired a law firm and a FDA compliance consultant to

independently investigate the issues raised by the whistleblower. This investigation revealed

severe noncompliance with FDA regulations and a complete lack of data-integrity controls at



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Akorn. In addition, Fresenius learned that Akorn had submitted a drug application with fabricated

data to the FDA, and when the FDA questioned that application while the merger was pending, a

senior Akorn “quality control” executive committed fraud in the Company’s response to the FDA.

       12.     As a result of its investigation, Fresenius elected to terminate the merger. In

response, Akorn filed suit in Delaware, seeking an injunction requiring Fresenius to consummate

the merger. Fresenius countersued, claiming that it was entitled to terminate the merger and that

Akorn was liable to it for damages incurred as a result of Akorn’s breach of the merger agreement.

       13.     The Delaware Court of Chancery held a trial in July 2018, and issued its post-trial

opinion on October 1, 2018. The court concluded that Fresenius properly terminated the merger

because of, among other things, Akorn’s false representations concerning FDA compliance. The

Delaware Supreme Court affirmed the trial court’s opinion in its entirety.

       14.     As the truth about Akorn’s widespread noncompliance and data-integrity issues

slowly leaked to the market as the merger fell apart, the price of Akorn securities plummeted. In

February 2018, Akorn common stock was trading at over $30 per share. Today, the stock is trading

at just a few dollars per share. Akorn went from being a multi-billion-dollar company to having a

market capitalization of just a few hundred million dollars. As aptly summarized by the Delaware

Court of Chancery: “Akorn has gone from representing itself as an FDA-compliant company . . .

to a company in persistent, serious violation of FDA requirements with a disastrous culture of

noncompliance.”

       15.     Plaintiffs are investment funds and the assignee of separately managed accounts

that purchased Akorn common stock and Akorn common stock-based swaps, and acquired Akorn

common stock pursuant to options, in 2017 and 2018, during the time when, unbeknownst to them,

Defendants were making materially false and misleading statements, and failing to disclose



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material information, which caused the price of these securities to be artificially inflated. As the

truth was gradually disclosed and processed by the market, Akorn’s stock price plummeted, and

Plaintiffs and their assignors suffered significant investment losses.

       16.     The revelation of this fraud has caused Plaintiffs and their assignors significant

harm. Plaintiffs therefore bring this action under the federal securities laws and under the common

law to recover the losses they suffered as a result of this securities fraud.

                                 JURISDICTION AND VENUE

       17.     The claims asserted herein arise under and pursuant to Sections 10(b), 18 and 20(a)

of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78j(b), 78r and 78t(a),

and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5, and under state common law.

       18.     This Court has jurisdiction over the subject matter of this action pursuant to Section

27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331, and has supplemental jurisdiction

over the state law claim pursuant to 28 U.S.C. § 1367(a).

       19.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391. Many of the acts giving rise to the violations complained of herein, including the

dissemination of false and misleading information, occurred in this District.

       20.     In connection with the acts, transactions and conduct alleged herein, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, including, but

not limited to, the United States mails, interstate telephone communications and the facilities of a

national securities exchange and market.

                                              PARTIES

I.     Plaintiffs

       21.     Plaintiff Twin Master Fund, Ltd. (“Twin Master”) is a Grand Cayman, Cayman

Islands exempted limited company whose investment adviser has its main office location in New

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York, New York. A list of the dates on which Twin Master purchased Akorn common stock and

Akorn common stock-based swaps, and acquired Akorn common stock pursuant to options, in the

United States during the relevant period is attached hereto as Exhibit A.

       22.     Plaintiff Twin Opportunities Fund, LP (“Twin Opportunities”) is a Delaware

limited partnership whose investment adviser has its main office location in New York, New

York. A list of the dates on which Twin Opportunities purchased Akorn common stock and

acquired Akorn common stock pursuant to options in the United States during the relevant period

is attached hereto as Exhibit B.

       23.     Plaintiff Twin Securities, Inc. (“Twin Securities”) is a Delaware corporation with

its principal place of business in New York, New York. Twin Securities is the assignee of federal

securities law and common law claims of separately managed accounts that purchased Akorn

securities in the United States (each an “Assignor” and collectively, the “Assignors”). The

Assignors validly and irrevocably assigned their claims under the federal securities laws and under

the common law arising from their purchases of Akorn securities to Twin Securities pursuant to

certain Assignments and Powers of Attorney entered into on May 1, 2019, and May 13, 2019. By

virtue of these assignments, Twin Securities holds the assigned interests in the causes of action

alleged herein under Sections 10(b), 18, and 20(a) of the Exchange Act, and Rule 10b-5

promulgated thereunder, and under the common law. A list of the dates on which the Assignors

purchased Akorn common stock and Akorn common stock-based swaps, and acquired Akorn

common stock pursuant to options, during the relevant period is attached hereto as Exhibit C.

       24.     At all relevant times, Twin Securities acted as investment adviser to Twin Master,

Twin Opportunities, and the Assignors in connection with their purchases of Akorn securities.




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II.    Defendants

       25.     Defendant Akorn is a Louisiana corporation with its headquarters in Lake Forest,

Illinois. Akorn markets itself as “a niche pharmaceutical company that develops, manufactures

and markets generic and branded prescription pharmaceuticals as well as animal and consumer

health products.”    According to its corporate website, Akorn “specialize[s] in difficult-to-

manufacture sterile and non-sterile dosage forms including: ophthalmics, injectables, oral liquids,

otics, topicals, inhalants, and nasal sprays.” In addition to its corporate headquarters, Akorn has

pharmaceutical research and development facilities in Vernon Hills, Illinois; Cranbury, New

Jersey; and Copiague, New York. It also has drug manufacturing facilities in Decatur, Illinois;

Somerset, New Jersey; Amityville, New York; Paonta Sahib, India; and Hettlingen, Switzerland.

Akorn’s common stock is publicly traded in the United States on the NASDAQ Global Select

Market (the “Nasdaq”) under the ticker symbol “AKRX.”

       26.     At all relevant times, Defendant Rajat Rai (“Rai”) was Akorn’s former Chief

Executive Officer (“CEO”). Rai joined Akorn as a strategic consultant in 2009 to help oversee the

operations of the Company while it searched for a new CEO. Rai was appointed as interim CEO

of Akorn later that year, and was handed the permanent CEO position in May 2010. Prior to

Akorn, Rai spent several years serving as an executive at Option Care Inc. At the time of his initial

retention by Akorn, the Company described him as “a veteran healthcare executive” with

“extensive knowledge of operations, finance and sales and marketing.” His employment with

Akorn was terminated effective December 31, 2018, shortly after the release of the post-trial

opinion in the Merger Litigation.

       27.     Defendant Duane A. Portwood (“Portwood”) has served as Akorn’s Chief Financial

Officer (“CFO”) since October 2015. Portwood is a Certified Public Accountant whom Akorn has



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described as “an accomplished executive with over 25 years of extensive accounting and finance

experience.”

       28.     Defendant Alan Weinstein (“Weinstein”) has been a member of Akorn’s Board of

Directors (the “Board”) since July 2009. He currently serves as Chairman of the Board. According

to Akorn, “Weinstein brings to Akorn’s Board in-depth knowledge of the provider side of the

healthcare industry, specifically hospital management, materials management and channel partner

relationships, as well as business leadership and innovative and strategic planning skills gained

from his years of service as a founder, and later a consultant, advisor and board member, for a

number of privately held healthcare services/technology companies.” At all relevant times,

Weinstein served on the Board’s Quality Oversight Committee.

       29.     Defendant Ronald M. Johnson (“Johnson”) has been a member of Akorn’s Board

since 2003. According to Akorn, “Johnson brings to Akorn’s Board extensive experience in

managing regulatory and compliance requirements of the FDA, particularly in pharmaceutical,

medical device, biologic and biotechnology industries, as well as a deep knowledge and

understanding of FDA policies and procedures regarding cGMP compliance, quality control

processes and outcomes reporting gained from his years of providing specialized consulting

services to governments, pharmaceutical companies and healthcare institutions and working at the

FDA.” At all relevant times, Johnson served on the Board’s Quality Oversight Committee.

       30.     Defendant Brian Tambi (“Tambi”) has been a member of Akorn’s Board since

2009. According to Akorn, “Tambi brings to Akorn’s Board extensive pharmaceutical industry

experience, particularly FDA knowledge and drug development and commercialization expertise,

as well as business leadership skills gained from his experience as a founder, executive and board




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member of numerous public and private pharmaceutical companies.” At all relevant times, Tambi

served on the Board’s Quality Oversight Committee.

                                 FACTUAL ALLEGATIONS

        31.    In addition to the sources discussed above and counsel’s independent investigation,

the following factual allegations draw heavily from the 246-page written opinion issued by Vice

Chancellor J. Travis Laster in the Merger Litigation on October 1, 2018. Akorn, Inc. v. Fresenius

Kabi AG, 2018 WL 4719347 (Del. Ch. Oct. 01, 2018). The opinion was released following a five-

day bench trial in the Delaware Court of Chancery in July 2018, during which 1,892 exhibits were

introduced into evidence, fifty-four deposition transcripts were lodged, and sixteen witnesses

testified live at trial (nine fact witnesses and seven expert witnesses). Vice Chancellor Laster’s

decision was affirmed by the Delaware Supreme Court on December 7, 2018. Akorn, Inc. v.

Fresenius Kabi AG, 198 A.3d 724 (Del. 2018).

I.      Akorn’s Regulation by the FDA

        32.    Akorn is a pharmaceutical company that, among other things, specializes in

developing and manufacturing generic drugs. Generic drugs are a cheaper substitute for brand-

name drugs. Generic drugs generally are named after the active ingredient in the drug as opposed

to the brand-name of the drug.

        33.    U.S. pharmaceutical companies like Akorn are regulated by the FDA. Prescription

drugs marketed in the United States must be approved by the FDA before they can be prescribed

to patients.

        34.    Generic prescription drugs are submitted to the FDA for approval on a form known

as an “Abbreviated New Drug Application” or “ANDA”.

        35.    After the patent on a brand-name drug expires, the first manufacturer to gain FDA

approval of its ANDA for a generic version of that drug is typically granted a 180-day exclusivity

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period during which it is the only company that can sell the cheaper generic alternative to the

brand-name drug. After the expiration of that exclusivity period, other pharmaceutical companies

with FDA-approved ANDAs may also market generic versions of the brand-name drug. Because

such competition drives down prices as demand becomes saturated, a drug manufacturer’s ability

to continuously develop new generic drugs can be an important component of that company’s

earnings growth.

       36.    That was (and is) the case for Akorn. During the relevant period, Akorn’s senior

management consistently highlighted for investors the importance of Akorn’s new product

development and the “pipeline” of new generic drugs that the Company was planning to launch.

Thus, Akorn’s management was acutely aware that Akorn’s growth depended on the Company’s

ability to develop and successfully launch new pharmaceutical products, which required FDA

approval.

       37.    For example, in a presentation to investors at the 35th Annual J.P Morgan

Healthcare Conference in San Francisco, California on January 9, 2017, Akorn management

emphasized how the Company’s investment in research and development of new generic drugs

and its pipeline of new product launches were a key component of its “compelling growth

strategy.”

       38.    That presentation included the following slide in which Akorn highlighted the

importance of FDA approval of ANDAs to the Company’s long-term profitability:




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II.    Current Good Manufacturing Processes and the Importance of Data Integrity

       39.     ANDAs submitted to the FDA for approval of a generic drug must contain data to

scientifically demonstrate that the medication performs in the same manner as the brand-name

drug for which it is being offered as an alternative. Pharmaceutical companies have a duty to

ensure that the information contained in the ANDA is true and accurate. Indeed, the FDA requires

that the ANDA include a certification that the information contained in the ANDA has been

reviewed by a “Responsible Official” signing the ANDA on behalf of the company, and that such

information is true and accurate to the best of that Responsible Official’s knowledge.

       40.     The accuracy of the data submitted in support of an ANDA is absolutely critical to

the FDA, the applicant, and the public. The FDA relies on the accuracy and reliability of the data

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submitted to it by pharmaceutical companies in determining whether the drug is effective and safe

for public consumption.

       41.       To ensure the reliability of the data submitted in ANDAs by companies like Akorn,

and pursuant to section 501(a)(2)(B) of the Federal Food, Drug, and Cosmetic Act, the FDA has

promulgated “current good manufacturing practices,” or “cGMPs,” for the manufacturing of

medications marketed to the public. Pharmaceutical companies like Akorn are legally obligated

to abide by the FDA cGMPs.

       42.       FDA cGMPs are designed to create a formal system of controls at pharmaceutical

companies that, if implemented, help prevent instances of contamination, error and fraud.

       43.       Among other things, cGMPs impose on pharmaceutical companies rigorous “data

integrity” requirements.

       44.       The FDA defines data integrity as “the completeness, consistency, and accuracy of

data.” The governing principle applied by the FDA with respect to data integrity is known by the

acronym “ALCOA”; that is, data must be attributable, legible, contemporaneously recorded,

original or a true copy, and accurate.

       45.       The cGMPs’ data-integrity requirements are set forth in federal regulations and

interpretive FDA guidance. They include the following requirements:

             •   “Backup data [must be] exact and complete” and “secure from alteration,
                 inadvertent erasures, or loss.”

             •   Data must be “stored to prevent deterioration or loss.”

             •   Certain activities must be “documented at the time of performance” and
                 laboratory controls must be “scientifically sound.”

             •   Records must be retained as “original records,” or “true copies,” or other
                 “accurate reproductions of the original records.”

             •   Information, data derived from all tests, records of all data, and records of
                 all tests performed must be “complete.”

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              •   Production and control records must be “reviewed” and laboratory records
                  must be “reviewed for accuracy, completeness, and compliance with
                  established standards.”

              •   Records must be “checked,” “verified,” or “reviewed.”

        46.       The FDA also prohibits pharmaceutical companies from “testing into compliance”;

that is, a drug company may not repeatedly run tests and record only passing results.

        47.       Pharmaceutical companies are required to promptly investigate and remediate

potential data integrity violations.

        48.       The FDA has resolutely stated that compliance with its data-integrity requirements

is essential to ensuring “the safety, efficacy, and quality of drugs, and of [the] FDA’s ability to

protect the public health.”

III.    FDA Enforcement

        49.       To help patrol compliance with its cGMPs, the FDA conducts onsite inspections of

pharmaceutical manufacturing facilities.

        50.       If a FDA inspection reveals violations of cGMPs, the FDA may issue a “Form 483”

documenting the violations that were discovered during the inspection. A drug company must

respond within fifteen business days to a Form 483 with a corrective action plan to address the

violations.

        51.       The submission of a satisfactory corrective action plan by a pharmaceutical

company typically results in the FDA classifying the inspection as “voluntary action indicated,”

or “VAI,” with no further action taken.

        52.       However, if the FDA is not satisfied with a company’s response to a Form 483, it

may classify the inspection as “official action indicated,” or “OAI.”




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       53.     The classification of a FDA inspection as OAI may lead to further regulatory action,

including the FDA’s refusal to approve new ANDAs submitted by a company until the problems

listed in the Form 483 have been resolved.

       54.     In addition to actions taken in response to site inspections, the FDA also can impose

sanctions on a company that submits false data to the FDA in an ANDA.

       55.     When the FDA is dissatisfied with an ANDA, it will send the company a “complete

response letter” or “CRL.” The CRL identifies the deficiencies in the ANDA and advises the

applicant of what actions to take to correct the deficiencies. The applicant can then resubmit the

ANDA, request a hearing, or withdraw/abandon the ANDA.

       56.     When a company is found to have engaged in a pattern or practice of wrongful

conduct that raises a significant question about the reliability of data in its ANDAs, the FDA may

invoke is “Application Integrity Policy,” or “AIP.” If the AIP is invoked, the FDA suspends its

review of the drug company’s pending ANDAs until the company has implemented remedial

measures.

IV.    Akorn’s Purported Compliance with FDA cGMPs

       57.     The FDA’s power to clamp down on drug companies that fail to implement cGMPs

means that compliance with the FDA’s requirements – and submission of accurate data to the FDA

– is essential to the successful operation of a pharmaceutical company such as Akorn.

       58.     Akorn’s noncompliance with cGMPs could result in the FDA refusing to approve

Akorn’s pending ANDAs and/or prohibiting Akorn from submitting new ANDAs, which in turn

would cut off the supply of new generic drugs that Akorn could market. An embargo of Akorn’s

ability to bring new drugs to market would be a death knell to its profitability and future growth.

       59.     The veracity of Akorn’s public assurances concerning its compliance with FDA

requirements was thus extremely important to Akorn’s investors.
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       60.     Because of the significance of FDA compliance to its success as a business and its

shareholders, Akorn had a senior executive position – “Executive Vice President, Global Quality”

– who was meant to be dedicated to and responsible for ensuring that Akorn’s research labs and

manufacturing plants met FDA data-integrity requirements. This senior executive was also

supposed to make sure that Akorn’s ANDAs submitted to the FDA contained accurate data and

complied with FDA standards.

       61.     At all relevant times, Mark Silverberg (“Silverberg”) held this important position

at Akorn, and thus was in charge of Akorn’s quality assurance function. Silverberg reported

directly to Akorn’s CEO, Defendant Rai.

       62.     During the relevant time period, Akorn publicly represented to investors that it was

in compliance with FDA cGMPs and data-integrity requirements. For example, in mid-2016,

Akorn received a Form 483 from the FDA following an inspection of its Decatur, Illinois

manufacturing facility. Defendant Rai told investors on a call that the FDA made only a “handful

of observations” on the Form 483, and that those observations were “routine.” In a subsequent

investor call, Rai told investors that “no remediation” needed to be done at Decatur.

       63.     In a merger agreement publicly filed with the SEC a few months later, Akorn was

even more strident in its assurances of compliance with FDA cGMPs. Akorn represented that it

was materially compliant with FDA regulations (including data-integrity requirements), that it had

conducted all trials and studies in accordance with standard medical, scientific and clinical

procedures, and that its FDA submissions contained no material misstatements or omissions.

V.     Akorn’s SEC Reporting Obligations

       64.     Under the federal securities laws and the regulations and guidance promulgated by

the SEC pursuant to those laws, companies whose stock is publicly traded in the U.S. – such as

Akorn – have important public reporting and disclosure obligations.
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       65.     Public companies are required to file with the SEC certain disclosure documents

containing comprehensive information about their business operations and their financial

condition. Investors generally rely on the accuracy and transparency of these disclosures when

determining whether to invest.

       66.     The following table sets forth the relevant filings that Akorn made with the SEC

during the relevant period, the date they were filed with the SEC, which of the Defendants signed

those filings, and how they will be referred to throughout this Complaint:

 Description of Filing      Date of Filing      Defendant Signatories           Abbreviation
 Form 8-K dated          December 12, 2016      Portwood                     “December 12, 2016
 December 12, 2016                                                           Press Release”
 Form 10-K for year      March 1, 2017          All Defendants               “2016 Annual
 ended December 31,                                                          Report”
 2016
 Form 8-K dated          February 28, 2017      Portwood                     “February 28, 2017
 February 28, 2017                                                           Press Release”
 Form 8-K dated          March 1, 2017          Portwood                     “March 1, 2017 Press
 March 1, 2017                                                               Release”
 Form 8-K dated April April 24, 2017            Portwood                     “Merger
 24, 2017                                                                    Announcement”
 Form 10-Q for           May 4, 2017            Portwood                     “2017 First Quarter
 quarter ended March                                                         Report”
 31, 2017
 Schedule 14A            May 22, 2017           Rai and “By Order of
 Preliminary Proxy                              the Board of Directors”
 Statement                                                                   “Merger Proxy
 Schedule 14A            June 14, 2017          Rai and “By Order of         Statement”
 Definitive Proxy                               the Board of Directors”
 Statement
 Form 10-Q for           July 31, 2017          Portwood                     “2017 Second
 quarter ended June                                                          Quarter Report”
 30, 2017
 Form 10-Q for           November 1, 2017       Portwood                     “2017 Third Quarter
 quarter ended                                                               Report”
 September 30, 2017

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 Description of Filing       Date of Filing      Defendant Signatories          Abbreviation
 Form 8-K dated           February 27, 2018      Portwood                  “February 26, 2018
 February 27, 2018                                                         Press Release”
 Form 10-K for year       February 28, 2018      All Defendants            “2017 Annual
 ended December 31,                                                        Report”
 2017
 Form 10-Q for            May 2, 2018            Portwood                  “2018 First Quarter
 quarter ended March                                                       Report”
 31, 2018
 Form 10-Q for            August 1, 2018         Portwood                  “2018 Second
 quarter ended June                                                        Quarter Report”
 30, 2018

       67.     Public companies are required to follow the standards developed by the SEC

governing what information must be disclosed in their public filings.

       68.     One of those standards is Item 303 of SEC Regulation S-K, which requires a public

company’s management to include a discussion and analysis of the company’s financial condition

and its results of operations in the company’s periodic filings with the SEC. Among other things,

under Item 303, company management is required to describe to investors “any known trends or

uncertainties that have had or that the registrant reasonably expects will have a material favorable

or unfavorable impact on net sales or revenues or income from continuing operations.”

       69.     In addition to these affirmative disclosure obligations required by the SEC, federal

law prohibits a person from making a materially false or misleading statement in connection with

the purchase or sale of a security. Moreover, when a company makes an incomplete statement that

omits material information necessary to render the affirmative statement not misleading, that

statement can be considered a violation of the federal securities laws even if the company did not

have an independent duty to disclose the omitted information in the absence of the affirmative

statement.



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        70.     Public companies such as Akorn also are required to maintain effective disclosure

controls and procedures to ensure compliance with their SEC reporting obligations. An issuer’s

top-ranking executives must be involved in creating and designing these controls, and must

personally guarantee their effectiveness.

        71.     The Committee of Sponsoring Organizations of the Treadway Commission’s

Internal Control – Integrated Framework defines internal control as “a process, effected by an

entity’s board of directors, management, and other personnel, designed to provide reasonable

assurance regarding the achievement of objectives relating to operations, reporting and

compliance.”    With respect to the reporting and compliance aspects of this definition, the

Integrated Framework specifically states that “[w]hen internal control is determined to be

effective, senior management and the board of directors have reasonable assurance [that] . . . the

organization prepares reports in conformity with applicable laws, rules and regulations, and

standards established by legislators, regulators, and standard setters, . . . [and that] the organization

complies with applicable laws, rules and regulations.”           See The Committee of Sponsoring

Organizations of the Treadway Commission’s Internal Control – Integrated Framework § 3

(“Requirements for Effective Internal Control”).

        72.     Section 404 of the Sarbanes-Oxley Act of 2002 (“SOX”) requires public companies

to publish information in their annual reports concerning the scope and adequacy of their internal

control structure and procedures for financial reporting, and also to assess the effectiveness of such

internal controls and procedures. When management identifies a control deficiency, it cannot

claim that its internal controls are effective if the control deficiency is deemed to be a material

weakness.




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         73.    Section 302 of SOX requires a public company’s chief executive officer and chief

financial officer to provide certifications concerning their review of, and disclosure of information

about, the company’s internal controls. Specifically, pursuant to rules promulgated by the SEC to

implement Section 302 of SOX, the CEO and CFO are required to certify in each periodic report

that:

                •   he or she has reviewed the report;

                •   based on his or her knowledge, the report does not contain any
                    untrue statement of a material fact or omit to state a material fact
                    necessary in order to make the statements made, in light of the
                    circumstances under which such statements were made, not
                    misleading with respect to the period covered by the report;

                •   based on his or her knowledge, the financial statements, and
                    other financial information included in the report, fairly present
                    in all material respects the financial condition, results of
                    operations and cash flows of the issuer as of, and for, the periods
                    presented in the report;

                •   he or she and the other certifying officers:

                    o are responsible for establishing and maintaining “disclosure
                      controls and procedures” [i.e., controls and other procedures
                      of an issuer that are designed to ensure that information
                      required to be disclosed by the issuer in the reports filed or
                      submitted by it under the Exchange Act is recorded,
                      processed, summarized and reported, within the time periods
                      specified in the SEC’s rules and forms] for the issuer;

                    o have designed such disclosure controls and procedures to
                      ensure that material information is made known to them,
                      particularly during the period in which the periodic report is
                      being prepared;

                    o have evaluated the effectiveness of the issuer’s disclosure
                      controls and procedures as of a date within 90 days prior to
                      the filing date of the report; and

                    o have presented in the report their conclusions about the
                      effectiveness of the disclosure controls and procedures based
                      on the required evaluation as of that date;


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               •   he or she and the other certifying officers have disclosed to the
                   issuer’s auditors and to the audit committee of the board of
                   directors (or persons fulfilling the equivalent function):

                   o all significant deficiencies in the design or operation of
                     internal controls which could adversely affect the issuer’s
                     ability to record, process, summarize and report financial
                     data and have identified for the issuer’s auditors any material
                     weaknesses in internal controls; and

                   o any fraud, whether or not material, that involves
                     management or other employees who have a significant role
                     in the issuer’s internal controls; and

               •   he or she and the other certifying officers have indicated in the
                   report whether or not there were significant changes in internal
                   controls or in other factors that could significantly affect internal
                   controls subsequent to the date of their evaluation, including any
                   corrective actions with regard to significant deficiencies and
                   material weaknesses.

Certification of Disclosure in Companies’ Quarterly and Annual Reports, Exchange Act Release

46427, § II.A (Sept. 9, 2002) (footnotes omitted).


       74.     Defendants Rai and Portwood provided these internal control certifications with

each of Akorn’s Form 10-Ks and Form 10-Qs filed with the SEC during the relevant period.

       75.     As explained in greater detail below, throughout the relevant period Akorn

represented to investors that it was complying with its important public reporting obligations by

timely disclosing truthful material facts about its business and by maintaining effective internal

controls. However, unbeknownst to the market, in 2017 and 2018, Defendants made material

misrepresentations and failed to disclose material information in order to artificially inflate the

price of Akorn’s stock for their own personal gain. They did this by, among other things, falsely

and misleadingly stating that Akorn was complying with FDA regulations, including the FDA’s

data-integrity requirements.    In connection with the Fresenius merger, Akorn also falsely

represented that it would continue to operate its business in the normal course while the merger

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was pending. Furthermore, Defendants falsely represented to the market that they had designed a

system of internal controls to ensure that material information was disclosed to investors.

However, as was later revealed when the Fresenius merger fell apart and during the subsequent

civil trial, Defendants misled the investing public in order to artificially inflate the value of Akorn’s

securities for their own financial gain, all the while knowing that their public representations were

materially false and misleading.

VI.     Akorn’s Significant Data Integrity Failures

        76.     Unbeknownst to investors, and contrary to Defendants’ public representations,

Akorn lacked the quality assurance functions necessary to ensure compliance with FDA cGMPs.

As detailed below, Akorn had extensive and recurring internal quality and data-integrity problems.

        77.     Akorn’s blatant disregard for its compliance obligations emanated from a toxic

“tone at the top” of the Company.         Although he was the chair of Akorn’s Quality Oversight

Committee and its executive steering committee on data-integrity remediation, Defendant Rai

consciously disregarded Akorn’s quality issues, including widespread data-integrity failures. For

example, Rai testified in the Merger Litigation that although he received Akorn’s internal audit

reports, he did not actually read them.

        78.     Moreover, Silverberg (the executive that the Company had placed in charge of

quality control) was unqualified for his position and was (at best) indifferent to remedying glaring

data-integrity problems at Akorn. According to Vice Chancellor Laster’s post-trial opinion in the

Merger Litigation, “Silverberg was not a suitable individual to be responsible for Akorn’s quality

efforts.” In fact, by 2016, Rai and the Board had concluded that Silverberg was unsuitable for the

job and needed to “retire.” Nevertheless, they inexplicably allowed Silverberg to stay in this

essential position until 2018.



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       79.     During his ten-year tenure as head of the quality compliance function at Akorn,

Silverberg placed pressure on employees to sacrifice quality assurance in order to increase

production. One employee (who was based at Akorn’s corporate headquarters) shockingly

reported in January 2016 that:

               Our current Executive Vice President of Quality Assurance
               [Silverberg] is not fostering a willingness to change the current
               Akorn culture. Instead of acknowledging and embracing our
               compliance gaps and working collaboratively with other groups to
               change and mature our quality systems, he actively works to prevent
               collaboration and transparency. He has actually counselled his
               staff to not speak to Global Quality Compliance staff and to not
               share information with GQC. . . . He has also provided misleading
               information to regulatory bodies including the US FDA.

       80.     This comment was made in a survey that was sent to Defendant Rai and other

members of Akorn senior management. However, Rai and the other executives took no action in

response to this report.

       81.     The January 2016 employee disclosure regarding Silverberg is consistent with other

evidence introduced at trial during the Merger Litigation. For example, Silverberg once instructed

the head of quality for Akorn’s European operations to disregard a quality issue reported to him,

and then directed him not to put anything in writing concerning the quality issue.

       82.     During Silverberg’s time at the helm, Akorn was not devoting sufficient resources

to data integrity. Although Silverberg purported to oversee the preparation of a data-integrity plan

for Akorn’s Decatur facility in August 2017, he did so without ever intending to implement that

plan. Silverberg expressly told Akorn employees that the purpose of the plan was so that Akorn

would have a document it could furnish to keep the FDA at bay.

       83.     The Individual Defendants were aware of Silverberg’s cavalier approach to quality

assurance and the problems he was trying to cover up, but they took no remedial action and failed

to put in place any quality assurance measures to fix Akorn’s glaring compliance gaps.
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       84.     In June 2016, Defendant Johnson wrote an email to Silverberg raising concerns:

               I continue to be concerned that our position always seems to be that
               FDA got it wrong and we are just fine. I do not think we are fine, I
               think there are signals that we are missing. As the leader of the
               quality function, I do not understand how you can tolerate the
               continued non-compliance by employees, supervisors and quality
               assurance staff. . . . We have do[d]ged a bullet a number of times,
               but at some point, our number will be up unless we, once and for all,
               fix the underlying reasons why our people do not adhere to
               procedures. Why do we not see an effort to do this?

       85.     Silverberg’s response was to request that Johnson and he discuss these issues “on

the phone.” There is no evidence that any further action was taken.

       86.     Akorn’s Global Quality Compliance (“GQC”) team identified critical data-integrity

failures at Akorn’s facilities. Akorn’s GQC team conducted periodic audits at Akorn in an attempt

to ensure that Akorn’s facilities met FDA requirements. However, as summarized by Vice

Chancellor Laster following the Merger Litigation trial, the GQC team discovered the following

serious issues at Akorn’s research and manufacturing facilities that Akorn did not remediate:

               •   At [Akorn’s corporate headquarters in Lake Forest, Illinois], in
                   April 2016, GQC found that audit trails were not being reviewed
                   for even “minimum criteria,” including “data deletion” and
                   “data manipulation.” GQC also found that “multiple Akorn staff
                   members” had unauthorized “system access allowances” that
                   enabled them to modify data and to delete audit trails. When
                   GQC visited Lake Forest again in December 2017, the problems
                   had not been remediated.

               •   At [Akorn’s research and development facility in Vernon Hills,
                   Illinois], in June 2016, a GQC audit identified a critical data
                   integrity failure that permitted unauthorized personnel to “make
                   changes in master production and control records.” The internal
                   audit also found that laboratory equipment was “unable to record
                   audit trails” and could not identify the users performing tests.
                   More than a year later, a September 2017 GQC audit found
                   exactly the same problems. The report observed that corrective
                   actions had “been halted and remain incomplete,” and noted that
                   Akorn’s failure to remediate these deficiencies “presents undue
                   risk to the site’s ongoing operations.” By the time of trial [in the


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                   Merger Litigation], the problems had still not been fixed, and
                   Vernon Hills did not even have a data integrity compliance plan.

               •   At [Akorn’s manufacturing facility in Somerset, New Jersey], in
                   April 2017, GQC identified critical problems involving access
                   controls and audit trail reviews. When GQC returned in
                   December 2017, the problems had not been remediated. By the
                   time of trial, Somerset still did not have an approved data
                   integrity compliance plan.

               •   In 2017, GQC identified numerous other data integrity
                   deficiencies at Akorn’s sites, with seventeen at [Akorn’s
                   manufacturing facility in Hettlingen, Switzerland], five at
                   [Akorn’s manufacturing facility in Amityville, New York], and
                   five at [Akorn’s corporate headquarters in Lake Forest, Illinois].

       87.     In September 2016, John Avellanet of Cerulean Associates LLC (“Cerulean”), a

data-integrity consultant, conducted a four-day inspection of Akorn’s manufacturing facility in

Decatur, Illinois. Mr. Avellanet is an expert on FDA data-integrity compliance. He is trained in

conducting FDA data-integrity inspections, and has been called the “best in the business” by

former FDA officials.

       88.     In December 2016, Cerulean delivered its Compliance Gap Analysis Summary and

Recommendation Report (the “Cerulean Decatur Report”) to Akorn. The report was highly critical

of Akorn, finding that the data-integrity controls at the inspected facility were “insufficient to

support compliance with current data integrity expectations and [FDA] regulatory requirements.”

       89.     Cerulean broke its noncompliance findings into three categories:          (a) critical

nonconformities; (b) major nonconformities; and (c) minor nonconformities.               A critical

nonconformity is one that is “reasonably likely to directly impact (e.g., either immediately cause,

enable, or be a non-compliance) the regulatory compliance status of the organization.”

       90.     Cerulean identified seven critical nonconformities, seven major nonconformities

and five minor nonconformities at Akorn’s Decatur facility.

       91.     The seven critical findings in the Cerulean Decatur Report were as follows:

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               (a)     “Failure to exercise sufficient controls to prevent data loss.”

               (b)     “Insufficient data integrity controls (both procedural and
                       technical) to prevent unauthorized changes to electronic
                       data.”

               (c)     “Insufficient registered record archival controls and
                       retention for records involved in drug product manufacture,
                       testing and release, and quality records.”

               (d)     “Failure to have sufficient controls over computerized
                       equipment used in regulated processes and used to create,
                       manipulate, edit, [and] store . . . regulated data for drug
                       product safety and quality testing and release.”

               (e)     “Inadequate validation of computerized systems to ensure
                       the ongoing suitability of systems for Akorn processes, data,
                       and personnel.”

               (f)     “Inadequate control over approved specifications for drug
                       product and raw materials, and failure to ensure that product
                       testing data is derived from compliance with established
                       specifications and standards.”

               (g)     “Inadequate corrective action and preventative action and
                       out-of-specification investigations, explanations, and
                       corrective actions.”

       92.     Cerulean found that all Akorn employees at Decatur had the ability to alter or delete

electronic data, including test data concerning the drug products being manufactured at the facility.

Additionally, Akorn had not established an audit trail at Decatur that would allow it to determine

whether data had been manipulated.

       93.     In January 2017, Cerulean attempted to conduct an inspection of Akorn’s

manufacturing facility in Somerset, New Jersey. However, Akorn failed to provide Cerulean with

adequate IT support for Cerulean to complete the inspection.

       94.     Nevertheless, in May 2017, Cerulean provided Akorn with a preliminary report (the

“Cerulean Somerset Report”) that identified three additional critical findings and three major

findings.

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       95.     The Cerulean Somerset Report stated that some of the violations at Somerset were

so severe that members of Akorn’s senior management were potentially subject to criminal liability

because they had failed “to ensure an effective quality system” and because Akorn’s IT department

had failed to “ensure the reliability of the controls around data used to make, test, [and] release”

safe and pure medication.

       96.     As a result of its inspection of the Decatur and Somerset facilities, Cerulean

concluded that there were “serious questions about the reliability of any data integrity controls and

thus the trustworthiness of any electronic information used throughout Akorn to make safety,

efficacy and quality decisions.”

       97.     Mr. Avellanet testified at trial in the Merger Litigation that Akorn’s data-integrity

failures were among the “top three worst” he has ever seen. Avellanet further testified that he

would not expect to see such data-integrity errors “at a company that made Styrofoam cups,” never

mind at a highly regulated pharmaceutical company.

       98.     The Cerulean reports confirmed (and added more detail to) what Akorn’s senior

management already knew. Akorn’s Quality Oversight Committee was aware of quality control

issues at the Company as early as 2014. Minutes from one of that committee’s meetings from

2014 cited the need for a “change in culture” with respect to quality control.

       99.     At the trial of the Merger Litigation, Rai testified that he and other members of

Akorn’s Quality Oversight Committee were “aware of significant and repeat problems that Akorn

was having in its quality function” as of November 2016. Rai further testified that Akorn was

experiencing such problems across all of its sites at that time.

       100.    In December 2016, during a meeting of the Board’s Quality Oversight Committee,

Defendant Johnson “expressed his concern around the repetitiveness of issues between sites and



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across sites identified during audits & external inspections.”      Defendant Tambi separately

recognized that “the implementation of corrective action is lacking or not timely.”

        101.    The Cerulean reports confirmed these concerns, and should have prompted Akorn

senior management to take immediate corrective action. However, upon receiving the Cerulean

reports – rather than attempt to remedy numerous “critical” and “major” data-integrity issues

identified by Cerulean – Akorn cancelled any further work by Cerulean, including completion of

the Somerset inspection and an upcoming inspection of Akorn’s manufacturing facility in

Amityville, New York. According to Vice Chancellor Laster, Akorn’s senior executives did so

because “they did not want Cerulean to identify any more data integrity gaps that could jeopardize

their efforts to sell the Company.” Furthermore, “[t]he only interest that Akorn’s executives

showed in the Cerulean [Somerset Report] was a request by Joseph Bonaccorsi, Akorn’s Executive

Vice President, General Counsel, and Corporate Secretary, that Cerulean remove the reference to

potential criminal liability for Akorn’s executives.”

VII.    The Fresenius Merger

        102.    Notwithstanding the serious data-integrity problems that were plaguing the

Company (or perhaps because of those problems), Akorn began exploring strategic alternatives

and, in July 2016, began a process of soliciting proposals to acquire Akorn. Fresenius emerged as

part of that solicitation process.

        103.    Fresenius is a global healthcare company based in Germany. Its pharmaceutical

subsidiary specializes in pharmaceuticals and technologies for infusion, transfusion and clinical

nutrition.

        104.    After a series of negotiations between Fresenius and Akorn representatives, on

April 2, 2017, Akorn’s Board accepted Fresenius’s bid to buy the Company for a price of $34 per

share, at a total price of $4.75 billion.
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       105.    On April 24, 2017, Akorn and Fresenius executed a merger agreement (the “Merger

Agreement”).

       106.    Akorn made various representations, warranties and covenants in the Merger

Agreement.     Among other things, Akorn falsely represented that it was not materially

noncompliant with any FDA regulations, including:

               •   that Akorn was in “compliance with . . . all applicable Laws . . .
                   relating to or promulgated by” the FDA;

               •   that Akorn was in “compliance with current good
                   manufacturing practices”;

               •   that all studies or tests had “been conducted in compliance with
                   standard medical and scientific research procedures and
                   applicable Law”;

               •   that Akorn had not “made an untrue statement of a material
                   fact or a fraudulent statement to the FDA”; and

               •   that all “ANDAs submitted by [Akorn] . . . are true, complete
                   and correct.”

       107.    In addition to these compliance representations, Akorn committed to use

“commercially reasonable efforts to carry on its business in all material respects in the ordinary

course of business” between signing of the Merger Agreement and the closing of the merger.

Akorn’s obligation included investigating and remediating quality control issues and data-integrity

violations.

       108.    Akorn announced the merger in a Form 8-K filed with the SEC after the markets

closed on April 24, 2017. The Form 8-K generally described the terms of the merger, and

incorporated by reference the Merger Agreement, which was attached thereto as an exhibit.

       109.    On May 22, 2017, Akorn filed the Merger Proxy Statement with the SEC, seeking

shareholder consent for the merger. In his cover letter accompanying the Merger Proxy Statement,

Defendant Rai, “By Order of the Board of Directors,” encouraged shareholders “to carefully read”

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the accompanying copy of the Merger Agreement attached to the Merger Proxy Statement. The

Merger Proxy Statement also summarized some of the representations and warranties that Akorn

had made in the Merger Agreement, including Akorn’s representation that it was in material

“compliance with applicable laws . . . , court orders and certain regulatory matters.”

VIII. Fresenius Discovers Akorn’s Data Integrity Issues

       110.      On October 5, 2017, a whistleblower sent a letter to Fresenius raising issues with

Akorn’s product development processes at three of its facilities. The whistleblower sent Fresenius

a more detailed version of the letter on November 2, 2017, which included information about flaws

in Akorn’s quality control processes.

       111.      On November 16, 2017, Fresenius executives called Rai to tell him about the

whistleblower letters and to suggest that Fresenius and Akorn confidentially investigate the

allegations in those letters. Fresenius sent the whistleblower letters to Akorn’s Board.

       112.      Fresenius hired Sidley Austin LLP (“Sidley”) to conduct a confidential

investigation. Sidley retained Lachman Consulting Services (“Lachman”) to assist with the

investigation. Akorn hired Cravath, Swaine & Moore LLP (“Cravath”) to shadow Sidley’s

investigation.

       113.      In December 2017 and January 2018, Sidley and Lachman conducted site visits of

three Akorn facilities. They identified serious data-integrity issues during each of those site visits.

       114.      Sidley’s investigation discovered that Akorn employees had no awareness of FDA

requirements and compliance issues.

       115.      Sidley concluded that there was no data integrity at Akorn’s Decatur, Vernon Hills,

and Somerset facilities.




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          116.   Additionally, Lachman identified “major, systemic data integrity gaps” at every

Akorn facility. Lachman concluded that Akorn’s compliance issues seriously undermined “the

safety and efficacy of Akorn’s products.”

          117.   A representative of Lachman made this point succinctly when testifying during the

Merger Litigation trial:

                 Everywhere that Lachman looked at policies, procedures, practices
                 and data, we found noncompliance. And the unusual thing is, is
                 when we go into a client’s site, we might find one area where they’re
                 weak in compliance. But at Akorn, across the board, everything we
                 looked at had significant noncompliance associated with it.

          118.   On January 5, 2018, a third whistleblower letter was sent to Fresenius alleging that

Akorn employees had concealed information from Sidley and Lachman during one of their site

visits.

          119.   While preparing witnesses for interviews with Sidley and Lachman, Cravath

learned of a serious issue concerning Akorn’s ANDA for the generic drug azithromycin, and

Silverberg’s submission of a fraudulent response to the FDA’s CRL for that ANDA. Vice

Chancellor Laster recited the facts surrounding this fraudulent submission as follows:

                 •   In 2012, Akorn began developing a topical ophthalmic form of
                     azithromycin, a prescription antibiotic, at its Somerset site, but
                     could not perform particulate matter stability testing due to its
                     viscosity.

                 •   In September 2012, an Akorn lab supervisor at Somerset named
                     Jim Burkert entered stability testing data into the lab notebook
                     of an Akorn chemist. There is no evidence that he had the data;
                     he seems to have made it up.

                 •   In December 2012, Akorn submitted to the FDA an ANDA for
                     azithromycin which included the false data.

                 •   In fall 2014, the stability testing issue came up again, and the
                     chemist discovered the entries in her notebook. She also noticed
                     other entries in the same notebook and in two other notebooks
                     that were not in her handwriting. She reported it to Burkert, who

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            did not ask any questions or follow up. The chemist next
            brought the issue to the attention of a quality manager who
            instructed all scientists to review their notebooks. The review
            discovered numerous instances of altered and missing data. In
            addition, two of Burkert’s notebooks were missing.

        •   On December 30, 2014, Burkert resigned voluntarily.

        •   In July 2016, Silverberg visited Somerset. He interviewed the
            chemist and told her to note in her notebooks where the writing
            was not hers. She identified six additional products where the
            writing was not hers. After learning about the missing
            notebooks, Silverberg instructed that going forward, all
            notebooks would be stored in the quality manager’s office and
            checked in and out. Employees expressed concern that
            Silverberg was not addressing the issues properly.

        •   In August 2017, Somerset was attempting to respond to a CRL
            that asked questions about the stability testing for azithromycin,
            albeit not specifically the fabricated test. When preparing the
            response, Akorn personnel identified the problems with the data
            and brought them to Misbah Sherwani [the Executive Director
            of Quality at Somerset]’s attention. She and a colleague,
            Michael Stehn, concluded that Akorn would need to withdraw
            the ANDA, and they elevated the issue to Silverberg.

        •   During Silverberg’s discussion with Sherwani and Stehn,
            Silverberg was told that it was highly likely that there was false
            or fabricated data in the initial ANDA submitted to the FDA.

        •   During a meeting on August 17, 2017, Silverberg told Sherwani
            and Stehn that Akorn would not withdraw the ANDA and should
            instead pull samples and test them to see if the samples passed
            the test. Silverberg subsequently instructed Sherwani and Stehn
            to respond to the CRL, not to ask for an extension, and not to
            open an investigation in[to] the data issues.

        •   Sherwani believed it was essential to conduct an investigation
            and to obtain an extension from the FDA. Sherwani asked
            Silverberg whether he was “allowing Regulatory Affairs to
            continue to submit inaccurate information” to the FDA.

        •   Silverberg argued that the FDA was asking about different data.

        •   Sherwani disagreed with Silverberg’s positon and declined to
            sign the CRL.


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                •   Silverberg instructed Sherwani that there should be “[n]o more
                    emails.”

                •   Silverberg signed the CRL on Sherwani’s behalf while she was
                    out of the office.

                •   By signing off on the CRL, Silverberg validated the attachments,
                    which were not yet attached to the form he signed. The
                    attachments included the false stability data. Sherwani had
                    made clear to Silverberg that signing the CRL would constitute
                    a resubmission of the false data.

         120.   When Cravath started investigating this issue in December 2017, Silverberg went

to Sherwani to get her to cooperate with him in harmonizing their stories. In response, Sherwani

contacted Cravath to tell them that she was not comfortable with what Silverberg was asking her

to do.

         121.   After hearing all of the evidence concerning the CRL response, Vice Chancellor

Laster concluded that Silverberg had intended to defraud the FDA in order to avoid blowing up

the merger. In his post-trial opinion, Vice Chancellor Laster found as follows:

                I am forced to conclude that Silverberg knew that the CRL would
                rely on fabricated data but authorized it anyway because he did
                not want to withdraw the ANDA and wave a red flag in front of
                Fresenius that would call attention to Akorn’s data integrity
                problems while the Merger was pending.

         122.   In early 2018, Akorn hired Hyman, Phelps & McNamara, P.C. (“Hyman”) to advise

it about how the Company should tackle the azithromycin ANDA and Silverberg’s CRL response.

         123.   Heeding the advice of Hyman, Akorn decided to go to the FDA to disclose the issue

and withdrew the ANDA for azithromycin. Akorn also removed Silverberg as the head of quality

control, and instead made him a “Quality Advisor,” effective March 1, 2018. Shockingly, Akorn

continued to pay Silverberg a significant salary in his demoted role.

         124.   In March 2018, Akorn hired NSF International (“NSF”) to conduct an investigation

of its data-integrity failures. NSF found extensive issues at the sites it examined, and confirmed

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the existence of widespread data-integrity problems at Akorn. Indeed, NSF found over 200 major

deficiencies in the ANDAs that Akorn had submitted to the FDA.

IX.    Akorn Misleads the FDA

       125.    On March 16, 2018, Akorn representatives had an in-person meeting with the FDA

during which Akorn misled the agency.

       126.    Akorn improperly characterized the investigation of Akorn’s data-integrity issues

as a joint investigation by Akorn and Fresenius into the whistleblower letters, when in fact it was

Fresenius conducting an investigation that Akorn merely shadowed. Moreover, in its written

presentation to the FDA, Akorn took credit for Sidley’s and Lachman’s investigatory work.

       127.    Perhaps most disconcertingly, Akorn attempted to excuse Silverberg’s conduct vis-

à-vis the CRL response. Akorn disingenuously stated to the FDA that Silverberg had authorized

the August 2017 submission to the FDA without knowing that false data was being included with

that submission. Internally, however, Akorn did not credit that explanation.

       128.    Finally, Akorn misled the FDA by informing it that Akorn had placed an “emphasis

. . . on improving data integrity controls in the last few years,” when Akorn’s Board and its

executives knew that was not true. Indeed, Akorn failed to inform the FDA of Cerulean’s findings

or its own employees’ complaints about Silverberg.

X.     Fresenius Terminates the Merger

       129.    On February 26, 2018, after the markets closed, Fresenius and Akorn released

conflicting statements concerning the discovery of potential data-integrity issues at Akorn.

       130.    Fresenius made the following statement to the market:

               Fresenius is conducting an independent investigation, using external
               experts, into alleged breaches of FDA data integrity requirements
               relating to product development at Akorn, Inc. The Management
               and Supervisory Boards of Fresenius will assess the findings of that
               investigation. The consummation of the transaction may be affected

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               if the closing conditions under the merger agreement are not met.
               Fresenius does not intend to provide further updates as the
               investigation proceeds. Fresenius continues to seek FTC clearance.

       131.    Notwithstanding its knowledge of serious and widespread data-integrity flaws,

Akorn responded with the following false and misleading statement:

               Akorn and Fresenius Kabi AG, with the assistance of outside
               consultants, are investigating alleged breaches of FDA data integrity
               requirements relating to product development at the Company. To
               date, the Company’s investigation has not found any facts that
               would result in a material impact on Akorn’s operations and the
               Company does not believe this investigation should affect the
               closing of the transaction with Fresenius. The Company does not
               intend to provide further updates as the investigation proceeds. The
               Company is continuing to work to obtain regulatory clearance for
               the transaction.

       132.    On April 22, 2018, Fresenius gave Akorn notice that it was terminating the Merger

Agreement, in part due to Akorn’s breaches of representations and warranties regarding its

compliance with FDA regulations.

       133.    Fresenius’s press release announcing the termination stated in pertinent part:

               Fresenius has decided today to terminate the company’s merger
               agreement with Akorn, due to Akorn’s failure to fulfill several
               closing conditions.

               Fresenius’ decision is based on, among other factors, material
               breaches of FDA data integrity requirements relating to Akorn’s
               operations found during Fresenius’ independent investigation.
               Fresenius offered to delay its decision in order to allow Akorn
               additional opportunity to complete its own investigation and present
               any information it wished Fresenius to consider, but Akorn has
               declined that offer.

       134.    The next day, before markets opened, Akorn issued the following misleading

statement to investors:

               We categorically disagree with Fresenius’ accusations. The
               previously disclosed ongoing investigation, which is not a condition
               to closing, has not found any facts that would result in a material
               adverse effect on Akorn’s business and therefore there is no basis

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               to terminate the transaction. We intend to vigorously enforce our
               rights, and Fresenius’ obligations, under our binding merger
               agreement.

       135.    Later that day, Akorn filed suit against Fresenius in Delaware, asking the court to

order Fresenius to close the merger.

       136.    Fresenius counterclaimed, contending that it validly terminated the merger and

seeking damages from Akorn.

XI.    Akorn Loses the Merger Litigation

       137.    As noted above, a bench trial was held by the Delaware court in July 2018, during

which large amounts of documentary and testimonial evidence were introduced by both Akorn and

Fresenius.

       138.    During the course of the Merger Litigation, more negative information concerning

Defendants’ misrepresentations was revealed to the market.

       139.    On May 2, 2018, during trading hours, Reuters released an article summarizing the

contents of Fresenius’s previously sealed court filings. The article revealed that Fresenius believed

that it had “uncovered ‘blatant fraud at the very top level’” of Akorn. Reuters reported that

“Fresenius [had] alleged that an Akorn executive vice president for quality assurance . . .

knowingly directed the submission of fraudulent testing data to the U.S. Food and Drug

Administration.”

       140.    On August 23, 2018, Vice Chancellor Laster held post-trial oral argument. During

the argument, the Vice Chancellor asked questions that led observers to believe and publicly report

that things were not going well for Akorn.

       141.    On September 3, 2018, Akorn reported to the court that certain company

documents had been spoliated.          On August 22, 2018, during the pendency of the FDA’s



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investigation of Akorn, someone at Akorn in its Somerset, New Jersey facility erased electronic

data relevant to issues raised in a recent FDA Form 483.

       142.    On October 1, 2018, Vice Chancellor Laster issued his post-trial decision. The

court found that Fresenius had validly terminated the Merger Agreement because Akorn violated

its compliance representations and its covenant to continue to conduct its business in the ordinary

course during the pendency of the merger. The court determined that Akorn’s breaches of its

compliance representations were material because they amounted to approximately $900 million

in economic harm.

       143.    On January 4, 2019, Akorn received a warning letter from the FDA related to an

inspection of Decatur. Akorn disclosed the existence of this letter on January 9, 2019.


     DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND OMISSIONS

I.     Defendants Misrepresent Akorn’s Compliance with FDA Regulations

       144.    In Akorn’s 2016 Annual Report, Defendants stated: “We are subject to extensive

government regulations which if they change and or we are not in compliance with, could increase

our costs, subject us to various obligations and fines, or prevent us from selling our products or

operating our facilities.” This statement was repeated verbatim in the 2017 First Quarter Report,

the 2017 Second Quarter Report, the 2017 Third Quarter Report, the 2017 Annual Report, the 2018

First Quarter Report, and the 2018 Second Quarter Report.

       145.    These statements, which caused Akorn securities to trade at artificially inflated

prices, were materially false and misleading, and omitted to state material facts. Specifically, it

was misleading for Defendants to suggest that Akorn was materially compliant with FDA

regulations and that noncompliance was merely a possibility that had not yet occurred. As

demonstrated above, during the period when these statements were made, Akorn was engaged in


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rampant and widespread noncompliance with FDA regulations across all of its facilities,

particularly with respect to FDA cGMPs and data-integrity requirements. Among other things: (a)

an Akorn chemist and Silverberg submitted false data to the FDA in connection with the

azithromycin ANDA; (b) Silverberg actively worked to thwart quality compliance efforts at

Akorn; (c) the Board expressed concern in June 2016 about continued noncompliance by

employees, supervisors and quality-assurance staff; (d) Akorn’s Global Quality Compliance team

identified critical data-integrity failures at Akorn’s facilities on numerous occasions in 2016 and

2017; (e) the Board’s Quality Oversight Committee identified “significant and repeat problems

that Akorn was having in its quality function” as of November 2016; (f) Cerulean found a number

of “critical” and “major” data-integrity flaws at two of Akorn’s manufacturing plants in 2016 and

early 2017; and (g) Sidley and Lachman identified serious data-integrity issues at the three Akorn

facilities they inspected in 2017 and 2018, determined that Akorn employees had no awareness of

FDA requirements and compliance issues, and found there to be significant noncompliance

everywhere they investigated at Akorn. Accordingly, it was materially misleading for Defendants

to state that there would be consequences “if” Akorn was not in compliance with FDA regulations

when they affirmatively knew that Akorn was not in compliance with those regulations.

       146.    Each of Akorn’s 2016 Annual Report, 2017 First Quarter Report, the 2017 Second

Quarter Report, the 2017 Third Quarter Report, and the 2017 Annual Report were also materially

misleading because they failed to disclose the Company’s regulatory noncompliance in violation

of Item 303 of Regulation S-K. Item 303 requires disclosure of “any known trends or uncertainties

that have had or that the registrant expects will have a material . . . unfavorable impact on net sales

or revenues or income from continuing operations.” Accordingly, these periodic filings should

have disclosed that Akorn was engaged in rampant and widespread noncompliance with FDA



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regulations across all of its facilities, particularly with respect to FDA cGMPs and data-integrity

requirements, which exposed Akorn to significant regulatory and negative public perception risk

that would materially and negatively impact Akorn’s earnings.

       147.    Akorn appended the Merger Agreement to both the Merger Announcement and the

Merger Proxy Statement filed with the SEC. In the Merger Agreement, Akorn represented that it

was materially compliant with FDA regulations:

               The Company and its Subsidiaries are and, to the Knowledge of the
               Company, since July 1, 2013, (1) have been in compliance with (A)
               all applicable Laws (including all rules, regulations, guidance and
               policies) relating to or promulgated by the U.S. Food and Drug
               Administration . . . .

       148.    Akorn also expressly represented in the Merger Agreement that it was in material

compliance with cGMPs:

               The Company and its Subsidiaries are and have been, since July 1,
               2013, in compliance with current good manufacturing practices
               and have maintained appropriate mechanisms, policies,
               procedures and practices to ensure the prompt collection and
               reporting of adverse event or any other safety or efficacy data,
               notifications, corrections, recalls and other actions required by
               Law related to their products, except where the failure to do so
               would not, individually or in the aggregate, reasonably be expected
               to have a Material Adverse Effect.

               Except as would not, individually or in the aggregate, reasonably be
               expected to have a Material Adverse Effect, since July 1, 2013 (i)
               all preclinical and clinical studies or tests sponsored by the
               Company and its Subsidiaries have been conducted in compliance
               with standard medical and scientific research procedures and
               applicable Law (including Good Clinical Practices requirement . .
               .).

       149.    Finally, Akorn represented in the Merger Agreement that it had not submitted any

false information to the FDA.

               All material reports, documents, claims and notices required or
               requested to be filed, maintained, or furnished to any Healthcare
               Regulatory Authority by the Company and its Subsidiaries since

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              July 1, 2013, have been so filed, maintained or furnished and, to the
              Knowledge of the Company, were complete and correct in all
              material respects on the date filed (or were corrected in or
              supplemented by a subsequent filing), except where the failure to do
              so (or the failure to be complete and correct) would not, individually
              or in the aggregate, reasonably be expected to have a Material
              Adverse Effect. . . .

              ...

              Since July 1, 2013, neither the Company nor any of its Subsidiaries
              (i) have made an untrue statement of a material fact or fraudulent
              statement to the FDA or any other Governmental Authority, (ii)
              have failed to disclose a material fact required to be disclosed to
              the FDA or other Governmental Authority, (iii) have committed
              any other act, made any statement or failed to make any statement,
              that (in any such case) establishes a reasonable basis for the FDA
              to invoke its Fraud, Untrue Statements of Material Facts, Bribery,
              and Illegal Gratuities Final Policy or (iv) have been the subject of
              any investigation by the FDA pursuant to its Fraud, Untrue
              Statements of Material Facts, Bribery, and Illegal Gratuities Final
              Policy, except, in each case, as would not, individually or in the
              aggregate, reasonably be expected to have a Material Adverse
              Effect.

              ...

              Except as would not, individually or in the aggregate, reasonably be
              expected to have a Material Adverse Effect: (i) no new drug
              applications (“NDAs”) or ANDAs submitted by the Company or
              any of its Subsidiaries to any Health Regulatory Authority for
              approval contain any untrue statement of a material fact or omit
              to state any material fact necessary in order to make the statements
              made therein, in the light of the circumstances under which they
              were made, not misleading, (ii) all NDAs and ANDAs submitted by
              the Company or any of its Subsidiaries are true, complete and
              correct and none is deficient by virtue of any failure to submit a
              modification, amendment or supplement thereto or for failure to pay
              any requisite fee, penalty or other charge or expense, and (iii) neither
              the Company nor any of its Subsidiaries has used or engaged the
              services of any debarred individual in connection with the
              preparation or submission of any marketing applications for its
              products.

       150.   These representations in the Merger Agreement, which caused Akorn securities to

trade at artificially inflated prices, were materially false and misleading, and omitted to state

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material facts. Specifically, Akorn was not compliant with FDA regulations, was violating

cGMPs, and had submitted false data to the FDA. Among other things: (a) an Akorn chemist and

Silverberg submitted false data to the FDA in connection with the azithromycin ANDA; (b)

Silverberg actively worked to thwart quality compliance efforts at Akorn; (c) the Board expressed

concern in June 2016 about continued noncompliance by employees, supervisors and quality-

assurance staff; (d) Akorn’s Global Quality Compliance team identified critical data-integrity

failures at Akorn’s facilities on numerous occasions in 2016 and 2017; (e) the Board’s Quality

Oversight Committee identified “significant and repeat problems that Akorn was having in its

quality function” as of November 2016; (f) Cerulean found a number of “critical” and “major”

data-integrity flaws at two of Akorn’s manufacturing plants in 2016 and early 2017; and (g) Sidley

and Lachman identified serious data-integrity issues at the three Akorn facilities they inspected in

2017 and 2018, determined that Akorn employees had no awareness of FDA requirements and

compliance issues, and found there to be significant noncompliance everywhere they investigated

at Akorn.

       151.    Akorn stated on a section of its website titled “Compliance” that it had “developed

a Corporate Compliance Policy and Procedures Manual containing several policies and procedures

regarding appropriate interactions with Health Care Professionals (‘HCPs’) consistent with

‘Compliance Program Guidance for Pharmaceutical Manufacturers,’ developed by the United

States Department of Health and Human Services Office of Inspector General (OIG),” which

Akorn referred to as its “Compliance Plan.” Akorn further stated on that part of its website that it

had “designated a Compliance Officer to implement and oversee the Compliance Program as a

priority of the Company to ensure employee compliance with the Company's commitment to

lawful conduct of its business.” Moreover, “[t]he Compliance Officer will ensure that good faith



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reports of unlawful conduct relating to the Company’s operations or practices are duly

investigated.” “If evidence of a violation exists, the Compliance Officer will recommend an

appropriate course of action to management. The Compliance Officer will relate the outcome of

investigations and actions taken to the Board of Directors.”

        152.    On another section of its website titled “Quality Policy,” Akorn stated as follows:

                Akorn Quality Policy Statement

                It is Akorn’s policy to preserve and improve patient health by
                consistently delivering high quality, safe and effective specialty
                pharmaceutical products, that meet or exceed customer
                expectations.


                Akorn Quality Mission Statement

                Our management and employee workforce are committed to
                successfully deploying our company's Quality Policy to all aspects
                of our firm - assuring continued high quality, safe and effective
                Akorn products for our customers.

                This commitment will be maintained through having the right
                people doing the right things, the first time, every time. This
                includes:

                •   State of the art technology, which develops and commercializes
                    safe pharmaceutical products that enhance the quality of life

                •   An experienced workforce, equipped with continuing education
                    in emerging Quality techniques and philosophy

                •   A management team that is accountable for effective review
                    and support of quality, through the prioritization, resourcing,
                    and timely execution of quality-conscious decision-making

                •   Confirmation of our success based upon the testimony of our
                    customers, shareholders, regulators, business partners, and
                    employees

       153.     These statements on Akorn’s website, which caused Akorn securities to trade at

artificially inflated prices, were materially false and misleading, and omitted to state material facts.



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Akorn’s senior management was (at best) indifferent to compliance and quality assurance issues.

Silverberg – the senior executive who was put in charge of compliance and quality assurance at

Akorn – actively worked to thwart quality compliance efforts at Akorn. Moreover, the Board and

senior management were aware of serious compliance and quality assurance issues, but failed to

take action to remediate those issues because they did not want to derail a potential acquisition

from which they would personally financially benefit. Far from doing the “right things, the first

time, every time,” Akorn personnel, among other things, submitted false data to the FDA in order

to get an ANDA approved for a new generic drug.

II.    Defendants’ Misrepresentations Concerning Akorn’s Manufacturing Facilities

       154.    In Akorn’s 2016 Annual Report, Defendants stated that Akorn’s manufacturing

facilities in Decatur, Illinois; Somerset, New Jersey; Amityville, New York; and Hettlingen,

Switzerland “are Food and Drug Administration (“FDA”) approved.” Furthermore, Defendants

stated that “[a]ll of our FDA approved facilities were inspected by the FDA in 2016” and “all of

our FDA approved facilities . . . ultimately received satisfactory status from the FDA.”

       155.    In Akorn’s 2017 Annual Report, Defendants repeated that Akorn’s manufacturing

facilities in Decatur, Illinois; Somerset, New Jersey; Amityville, New York; and Hettlingen,

Switzerland “are Food and Drug Administration (“FDA”) approved.” Furthermore, Defendants

stated that “[a]ll of our FDA approved facilities were inspected by the FDA in 2017” and “all of

our FDA approved facilities . . . are in good standing with the FDA.”

       156.    These statements in Akorn’s 2016 Annual Report and 2017 Annual Report, which

caused Akorn securities to trade at artificially inflated prices, were materially false and misleading,

and omitted to state material facts. It was misleading for Defendants to emphasize to investors the

FDA’s inspection and approval of the four manufacturing facilities when there were such serious

regulatory deficiencies at those facilities. As demonstrated above, during the period when these
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statements were made, Akorn was engaged in rampant and widespread violations of FDA

regulations across all of its facilities, particularly with respect to FDA cGMPs and data-integrity

requirements. Among other things: (a) an Akorn chemist and Silverberg submitted false data to

the FDA in connection with the azithromycin ANDA; (b) Silverberg actively worked to thwart

quality compliance efforts at Akorn; (c) the Board expressed concern in June 2016 about continued

noncompliance by employees, supervisors and quality-assurance staff; (d) Akorn’s Global Quality

Compliance team identified critical data-integrity failures at Akorn’s facilities on numerous

occasions in 2016 and 2017; (e) the Board’s Quality Oversight Committee identified “significant

and repeat problems that Akorn was having in its quality function” as of November 2016; (f)

Cerulean found a number of “critical” and “major” data-integrity flaws at two of Akorn’s

manufacturing plants in 2016 and early 2017; and (g) Sidley and Lachman identified serious data-

integrity issues at the three Akorn facilities they inspected in 2017 and 2018, determined that

Akorn employees had no awareness of FDA requirements and compliance issues, and found there

to be significant noncompliance everywhere they investigated at Akorn.

       157.    In Akorn’s 2016 Annual Report, Defendants stated that Akorn’s “[r]esearch and

development expertise” and its “manufacturing expertise” were two of its five competitive

strengths. Defendants repeated this statement in Akorn’s 2017 Annual Report.

       158.    These statements, which caused Akorn securities to trade at artificially inflated

prices, were materially false and misleading, and omitted to state material facts. It was misleading

for Defendants to highlight Akorn’s purported manufacturing and research and development

“expertise” when there were such serious regulatory deficiencies at Akorn’s facilities.          As

demonstrated above, during the period when these statements were made, Akorn was engaged in

rampant and widespread noncompliance with FDA regulations across all of its facilities,



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particularly with respect to FDA cGMPs and data-integrity requirements. Among other things: (a)

an Akorn chemist and Silverberg submitted false data to the FDA in connection with the

azithromycin ANDA; (b) Silverberg actively worked to thwart quality compliance efforts at

Akorn; (c) the Board expressed concern in June 2016 about continued noncompliance by

employees, supervisors and quality-assurance staff; (d) Akorn’s Global Quality Compliance team

identified critical data-integrity failures at Akorn’s facilities on numerous occasions in 2016 and

2017; (e) the Board’s Quality Oversight Committee identified “significant and repeat problems

that Akorn was having in its quality function” as of November 2016; (f) Cerulean found a number

of “critical” and “major” data-integrity flaws at two of Akorn’s manufacturing plants in 2016 and

early 2017; and (g) Sidley and Lachman identified serious data-integrity issues at the three Akorn

facilities they inspected in 2017 and 2018, determined that Akorn employees had no awareness of

FDA requirements and compliance issues, and found there to be significant noncompliance

everywhere they investigated at Akorn. Far from giving Akorn a “competitive advantage,”

Akorn’s manufacturing and research and development processes exposed the Company to

regulatory and negative public perception risk.

       159.    Defendants made the following statements specific to the Decatur, Illinois

manufacturing facility in response to a Form 483 issued by the FDA in mid-2016:

               (a)    On a November 3, 2016 earnings call, Defendant Rai stated
                      in response to an analyst question that “there is no
                      remediation per se that we have to do at our Decatur site.”

               (b)    On November 29, 2016, Defendant Portwood told an analyst
                      at the Piper Jaffray Healthcare Conference that “there’s
                      nothing really more for us to do other than just operate under
                      cGMP type standards . . . and that work has been done” at
                      Decatur.

               (c)    In the December 12, 2016 Press Release, Akorn announced
                      that “the U.S. Food and Drug Administration (FDA)
                      conducted a re-inspection of its Decatur, Illinois

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                       manufacturing facility from December 5, 2016 to December
                       9, 2016, with no Form 483 observations.”

               (d)     On a March 1, 2017 earnings call, Rai stated that Akorn had
                       achieved a “NAI, or no action indicated, status for Decatur.”

               (e)     In the March 1, 2017 Press Release, Akorn highlighted that
                       it had “[r]eceived FDA NAI status (No Action Indicated),
                       the highest status level available, for the Company’s Decatur
                       facility, following the December 2016 re-inspection.”

        160.   These statements, which caused Akorn securities to trade at artificially inflated

prices, were materially false and misleading, and omitted to state material facts. It was misleading

for Defendants to highlight the FDA’s reinspection of Decatur without revealing the significant

data-integrity issues that existed at that facility. Indeed, at the time of these announcements,

Cerulean had conducted an inspection of Decatur and provided Akorn with a report that disclosed

seven critical and seven major data-integrity nonconformities.         Decatur defined a critical

nonconformity as one that is “reasonably likely to directly impact (e.g., either immediately cause,

enable, or be a non-compliance) the regulatory compliance status of the organization.” However,

by concealing these findings from the investing public while stating that Decatur had received “the

highest status level available” from the FDA, Defendants made materially misleading statements.

III.    Defendants Mislead Investors About Akorn’s ANDA “Pipeline”

        161.   On January 10, 2017, Defendant Portwood attended the JPMorgan Healthcare

Conference on behalf of Akorn. At that investor conference, Portwood spoke about Akorn’s

valuable drug pipeline, stating: “[W]e have a large pipeline of pending ANDAs and planned

launches . . . . As of the end of 2016, our pending ANDA count stood at 92 filings, which represent

a total addressable IMS market value of approximately $9.5 billion . . . . We are starting to see a

steady stream of product launches from our deep ANDA pipeline.”




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       162.    The accompanying presentation included a slide highlighting Akorn’s “large

pipeline of pending ANDAs and planned launches,” with “filings pending with the FDA with a

total addressable IMS market value of $9.5B” and “[o]ver 75 additional ANDAs in various stages

of development.”

       163.    The February 28, 2017 Press Release announced that Akorn “has received approval

from the U.S. Food and Drug Administration (FDA) for its Abbreviated New Drug Application

(ANDA) for Mycophenolate Mofetil for Injection, USP, 500 mg/vial. This approval is the first

new product approval received out of Akorn’s Decatur, Illinois manufacturing facility since the

FDA re-inspection in December 2016.”

       164.    On an earnings call the next day, Defendant Rai cited this ANDA approval as

support for the Company’s ability to obtain approval for its pipeline drugs. Rai stated: “As we

announced yesterday, we have received the approval of Mycophenolate, our first ANDA approval

from the Decatur facility since the reinspection. This implies that we should now expect to receive

approvals for other filings, including ephedrine, from our Decatur facility that was delayed due to

the compliance status.” In response to a question from an analyst, Rai doubled-down that Akorn

would be “getting [its] products approved this year more than ever.”

       165.    These statements, which caused Akorn securities to trade at artificially inflated

prices, were materially false and misleading, and omitted to state material facts. It was misleading

for Rai and Portwood to speak about Akorn’s pipeline and assure investors that new ANDA

approvals were coming down the pike when they knew of the widespread FDA violations and

data-integrity problems at Decatur and Akorn’s other facilities. Among other things: (a) an Akorn

chemist and Silverberg submitted false data to the FDA in connection with the azithromycin

ANDA; (b) Silverberg actively worked to thwart quality compliance efforts at Akorn; (c) the Board



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expressed concern in June 2016 about continued noncompliance by employees, supervisors and

quality-assurance staff; (d) Akorn’s Global Quality Compliance team identified critical data-

integrity failures at Akorn’s facilities on numerous occasions in 2016 and 2017; (e) the Board’s

Quality Oversight Committee identified “significant and repeat problems that Akorn was having

in its quality function” as of November 2016; (f) Cerulean found a number of “critical” and

“major” data-integrity flaws at two of Akorn’s manufacturing plants in 2016 and early 2017; and

(g) Sidley and Lachman identified serious data-integrity issues at the three Akorn facilities they

inspected in 2017 and 2018, determined that Akorn employees had no awareness of FDA

requirements and compliance issues, and found there to be significant noncompliance everywhere

they investigated at Akorn. Defendants’ awareness of the serious impact of these issues on

Akorn’s ANDA pipeline rendered their statements materially misleading.

IV.    Defendants Misrepresent Akorn’s Operations During the Pendency of the Merger

       166.    In the Merger Announcement, Akorn stated that it would “operate its business in

the ordinary course of business in all material respects” until the merger was consummated. This

statement was repeated in Acorn’s periodic filings with the SEC during the pendency of the

merger, including in the 2017 First Quarter Report, the 2017 Second Quarter Report, and the 2017

Third Quarter Report.

       167.    These statements, which caused Akorn securities to trade at artificially inflated

prices, were materially false and misleading. Akorn did not operate its business in the ordinary

course in all material respects after the Merger Agreement was signed because, among other things,

Akorn: (a) cancelled its scheduled regular audits of its facilities and simply conducted “verification

audits”; (b) cancelled Cerulean’s scheduled inspection of the Somerset and Amityville facilities;

(c) did not address the data-integrity issues identified by the GQC audits or in the Cerulean reports;



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(d) submitted fabricated data to the FDA in response to a CRL; and (e) elected not to conduct an

independent investigation in response to the whistleblower letters.

V.     Defendants Mislead Investors About Fresenius’s Investigation

       168.    In the 2017 Second Quarter Report, Akorn stated that there was a “possibility that

any or all of the various conditions to the consummation of the merger may not be satisfied or

waived, including the failure to receive any required regulatory approvals from any applicable

governmental entities (or any conditions, limitations or restrictions placed on such approvals).”

Akorn repeated this statement in the 2017 Third Quarter Report.

       169.    In the February 26, 2018 Press Release, which was issued by Defendants in

response to a statement from Fresenius that it was conducting an independent investigation, into

alleged breaches of FDA data-integrity requirements at Akorn, the Company stated:

               Akorn and Fresenius Kabi AG, with the assistance of outside
               consultants, are investigating alleged breaches of FDA data integrity
               requirements relating to product development at the Company.

               To date, the Company’s investigation has not found any facts that
               would result in a material impact on Akorn’s operations and the
               Company does not believe this investigation should affect the
               closing of the transaction with Fresenius. The Company does not
               intend to provide further updates as the investigation proceeds. The
               Company is continuing to work to obtain regulatory clearance for
               the transaction.

       170.    Then, when Fresenius disclosed to investors that it had provided Akorn with a

notice terminating the Merger Agreement, Akorn stated:

               We categorically disagree with Fresenius’ accusations. The
               previously disclosed ongoing investigation, which is not a condition
               to closing, has not found any facts that would result in a material
               adverse effect on Akorn’s business and therefore there is no basis
               to terminate the transaction. We intend to vigorously enforce our
               rights, and Fresenius’ obligations, under our binding merger
               agreement.



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        171.   These statements, which caused Akorn securities to trade at artificially inflated

prices, were materially false and misleading, and omitted to state material facts. It was misleading

for Defendants to suggest that it was only a “possibility” that the terms of the Merger Agreement

“may not be satisfied” when Defendants affirmatively knew that Akorn was engaged in rampant

and widespread noncompliance with FDA regulations across all of its facilities, particularly with

respect to FDA cGMPs and data-integrity requirements, which ultimately derailed the merger. It

was also false for Defendants to state that the “investigation has not found any facts that would

result in a material impact on Akorn’s” business or operations because the investigation had

revealed material FDA noncompliance across all of Akorn’s facilities as well as Akorn’s

submission of false data to the FDA.

VI.     Defendants Misrepresent the Effectiveness of Akorn’s Disclosure Controls and
        Procedures

        172.   Defendants repeatedly certified that they had established effective disclosure

controls and procedures for Akorn, with one exception that related to a material weakness in

financial reporting related to Akorn’s accounting for in process research and development

indefinite-lived intangible assets that existed as of year-end 2016 and during the first quarter of

2017.

        173.   In the 2016 Annual Report, Defendants disclosed that:

               Our disclosure controls and procedures are designed to ensure that
               information required to be disclosed by us in the reports that we file
               or submit under the Securities Exchange Act of 1934, as amended
               (the “Exchange Act”), is recorded, processed, summarized and
               reported within the time periods specified in the SEC’s rules and
               forms. Disclosure controls and procedures include, without
               limitation, controls and procedures designed to ensure that
               information required to be disclosed by us in reports we file or
               submit under the Exchange Act is accumulated and communicated
               to our management, including the Chief Executive Officer and Chief
               Financial Officer, as appropriate, to allow timely decisions
               regarding required disclosure.
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               As of December 31, 2016, an evaluation was conducted under the
               supervision and with the participation of our management, including
               our Chief Executive Officer and Chief Financial Officer, of the
               effectiveness of our disclosure controls and procedures (as defined
               in Rule 13a-15(e) and Rule 15d-15(e) of the Exchange Act). Based
               on this evaluation, such officers have concluded that our
               disclosure controls and procedures were not effective as of
               December 31, 2016, solely because of the material weakness in our
               internal control over financial reporting described below.2

       174.    In the 2017 First Quarter Report, Akorn disclosed that:

               Our management evaluated, with the participation of our Chief
               Executive Officer and Chief Financial Officer, the effectiveness of
               our disclosure controls and procedures, as defined in Rules 13a-
               15(e) and 15d-15(e) under the Securities Exchange Act of 1934, for
               the three month period ended March 31, 2017.

               Based on this evaluation, our Chief Executive Officer and Chief
               Financial Officer have concluded that, because of the material
               weakness in internal control over financial reporting described in
               our 2016 Form 10-K as filed on March 1, 2017, our disclosure
               controls and procedures were not effective as of March 31, 2017.

               A material weakness is a deficiency, or a combination of
               deficiencies, in internal control over financial reporting, such that
               there is a reasonable possibility that a material misstatement of our
               annual or interim financial statements will not be prevented or
               detected on a timely basis. Because of its inherent limitations,
               internal control over financial reporting may not prevent or detect
               misstatements. Also, projections of any evaluation of effectiveness
               to future periods are subject to the risk that controls may become
               inadequate because of changes in conditions, or that the degree of
               compliance with the policies or procedures may deteriorate.

               In prior filings, we identified and reported a material weakness in
               the Company’s internal control over financial reporting related to
               our internal controls over the accounting for indefinite-lived
               IPR&D-related intangible assets, which still exists as of March 31,
               2017. We are executing our remediation plan and testing
               procedures. In response to the identified material weakness, our
               management, with oversight from our audit committee, has

2
  The material weakness “described below” was the financial reporting related to Akorn’s accounting for
in process research and development indefinite-lived intangible assets.

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        dedicated resources to improve our control environment and to
        remedy the identified material weakness.

        We believe that we have designed and implemented the appropriate
        controls to fully remediate the material weakness. These controls
        include additional procedures related to the review of assumptions
        and data inputs, as well as the review of the results and
        documentation of the IPR&D indefinite-lived intangible assets
        impairment analysis. However, the Company is required to
        demonstrate the effectiveness of the new processes for a sufficient
        period of time. Therefore, until all remedial actions as described
        fully in our 2016 Form 10-K, as filed on March 1, 2017, including
        the efforts to test the necessary control activities we identified, are
        fully completed, the material weakness identified will continue to
        exist.

        During the three month period ended March 31, 2017, the Company
        commenced testing of the redesigned controls directly related to the
        identified material weakness. We are committed to achieving and
        maintaining a strong control environment, high ethical standards,
        and financial reporting integrity and transparency.

 175.   In the 2017 Second Quarter Report, Akorn disclosed that:

        Our management evaluated, with the participation of our Chief
        Executive Officer and Chief Financial Officer, the effectiveness of
        our disclosure controls and procedures, as defined in Rules 13a-
        15(e) and 15d-15(e) under the Securities Exchange Act of 1934, for
        the three month period ended June 30, 2017.

        Based on this evaluation, our Chief Executive Officer and Chief
        Financial Officer have concluded that the Company’s disclosure
        controls and procedures were effective at a reasonable assurance
        level for the purpose of ensuring that the information required to
        be disclosed by us in the reports that we file or submit under the
        Exchange Act is (a) recorded, processed, summarized and reported
        within the time periods specified in the SEC’s rules and forms and
        (b) accumulated and communicated to management including the
        CEO and CFO, or persons performing similar functions, as
        appropriate to allow timely decisions regarding required
        disclosure.

        In prior filings, we identified and reported a material weakness in
        the Company’s internal control over financial reporting related to
        our internal controls over the accounting for indefinite-lived
        IPR&D-related intangible assets. We have now executed our
        remediation plan and testing procedures.

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              We believe that we have designed and implemented the appropriate
              controls to fully remediate the material weakness. These controls
              include additional procedures related to the review of assumptions
              and data inputs, as well as the review of the results and
              documentation of the IPR&D indefinite-lived intangible assets
              impairment analysis. We also believe the Company has now
              demonstrated the effectiveness of the new processes for a sufficient
              period of time to be considered remediated. Therefore, all remedial
              actions as described fully in our 2016 Form 10-K, as filed on March
              1, 2017, including the efforts to test the necessary control activities
              we identified, are fully completed.

       176.   In the 2017 Third Quarter Report, Akorn made the exact same disclosure for the

applicable quarter as is made in the 2017 Second Quarter Report for the second quarter of 2017.

       177.   In the 2017 Annual report, Defendants stated:

              Our disclosure controls and procedures are designed to ensure that
              information required to be disclosed by us in the reports that we file
              or submit under the Securities Exchange Act of 1934, as amended
              (the “Exchange Act”), is recorded, processed, summarized and
              reported within the time periods specified in the SEC’s rules and
              forms. Disclosure controls and procedures include, without
              limitation, controls and procedures designed to ensure that
              information required to be disclosed by us in reports we file or
              submit under the Exchange Act is accumulated and communicated
              to our management, including the Chief Executive Officer and Chief
              Financial Officer, as appropriate, to allow timely decisions
              regarding required disclosure.

              As of December 31, 2017, an evaluation was conducted under the
              supervision and with the participation of our management, including
              our Chief Executive Officer and Chief Financial Officer, of the
              effectiveness of our disclosure controls and procedures (as defined
              in Rule 13a-15(e) and Rule 15d-15(e) of the Exchange Act). Based
              on this evaluation, such officers have concluded that our
              disclosure controls and procedures are effective as of December
              31, 2017.

       178.   Akorn repeated that disclosure for the applicable time period in the 2018 First

Quarter Report and in the 2018 Second Quarter Report.




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       179.   Along with the 2016 Annual Report, Defendants Rai and Portwood provided a

certification, pursuant to Section 302 of SOX, concerning Akorn’s internal controls. Each of Rai

and Portwood stated:

              1. I have reviewed this annual report on Form 10-K of Akorn, Inc.;

              2. Based on my knowledge, this report does not contain any untrue
                 statement of a material fact or omit to state a material fact
                 necessary to make the statements made, in light of the
                 circumstances under which such statements were made, not
                 misleading with respect to the period covered by this report;

                  ...

              4. The registrant’s other certifying officer and I are responsible for
                 establishing and maintaining disclosure controls and procedures
                 (as defined in Exchange Act Rules 13a-15(e) and 15d-15(e)) and
                 internal control over financial reporting (as defined in Exchange
                 Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:

                  a. Designed such disclosure controls and procedures, or caused
                     such disclosure controls and procedures to be designed under
                     our supervision, to ensure that material information relating
                     to the registrant, including its consolidated subsidiaries, is
                     made known to us by others within those entities,
                     particularly during the period in which this report is being
                     prepared;

                        ...

                  c. Evaluated the effectiveness of the registrant’s disclosure
                     controls and procedures and presented in this report our
                     conclusions about the effectiveness of the disclosure
                     controls and procedures, as of the end of the period covered
                     by this report, based on such evaluation; and

                  d. Disclosed in this report any change in the registrant’s
                     internal control over financial reporting that occurred during
                     the registrant’s most recent fiscal quarter (the registrant’s
                     fourth fiscal quarter in the case of an annual report) that has
                     materially affected, or is reasonably likely to materially
                     affect, the registrant’s internal control over financial
                     reporting . . . .



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       180.     Rai and Portwood provided substantially identical certifications pursuant to Section

302 of SOX for the relevant periods with the 2017 First Quarter Report, the 2017 Second Quarter

Report, the 2017 Third Quarter Report, the 2017 Annual Report, 2018 First Quarter Report, and

the 2018 Second Quarter Report.

       181.     These statements, which caused Akorn securities to trade at artificially inflated

prices, were materially false and misleading because Akorn did not have effective disclosure

controls and procedures in place between 2016 and 2018, even taking into account the material

weakness in financial reporting that Akorn disclosed. As of 2016, Akorn senior management and

Akorn’s Board were aware of widespread material FDA noncompliance at Akorn’s facilities, as

well as severe data-integrity problems throughout the Company. Akorn did not have sufficient

disclosure controls and procedures to ensure that such material information was reported to

investors. Indeed, senior management and the Board swept these problems under the rug to further

their own personal financial interests – rather than publicly disclose these issues – because Akorn’s

disclosure controls and procedures were completely ineffective and inadequate. Far from being

“committed to achieving and maintaining a strong control environment” and “high ethical

standards,” Defendants were (at best) indifferent to ensuring that Akorn had in place adequate

internal controls to protect Akorn’s investors and customers.

                       ADDITIONAL ALLEGATIONS OF SCIENTER

       182.     Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

       183.     Defendants Rai, Portwood, Weinstein, Johnson and Tambi acted with scienter with

respect to the materially false and misleading statements of material fact set forth above because

they knew, or at the very least recklessly disregarded, that those statements were false when made.



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As the most senior executives of Akorn and/or members of the Board’s Quality Oversight

Committee during the relevant time period, their scienter is imputable to Akorn.

         184.   As a senior executive of the Company, Silverberg’s scienter is also imputable to

Akorn.

         185.   The evidence adduced at the trial of the Merger Litigation established that there

was a toxic “tone at the top” of Akorn that encouraged employees to disregard quality assurance

and compliance issues if they stood in the way of Akorn’s production of pharmaceuticals. This

was especially true of Silverberg, who frequently looked the other way when quality assurance

issues were reported to him, even though he was the head of quality assurance. Minutes from one

of the Board’s Quality Oversight Committee’s meetings in 2014 cited the need for a “change in

culture” with respect to quality control.

         186.   The Individual Defendants were aware of Silverberg’s antics. One employee (who

was based at Akorn’s corporate headquarters) shockingly reported in January 2016 that:

                Our current Executive Vice President of Quality Assurance
                [Silverberg] is not fostering a willingness to change the current
                Akorn culture. Instead of acknowledging and embracing our
                compliance gaps and working collaboratively with other groups to
                change and mature our quality systems, he actively works to prevent
                collaboration and transparency. He has actually counselled his
                staff to not speak to Global Quality Compliance staff and to not
                share information with GQC. . . . He has also provided misleading
                information to regulatory bodies including the US FDA.

         187.   This comment was made in a survey that was sent to Defendant Rai, Defendant

Portwood, and other members of Akorn senior management. However, Rai, Portwood, and the

other executives took no action in response to this report.

         188.   In point of fact, although Defendant Rai was the Chair of Akorn’s Quality

Oversight Committee and its executive steering committee on data-integrity remediation, he

consciously disregarded Akorn’s quality issues, including widespread data-integrity failures. Rai
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testified in the Merger Litigation that he received Akorn’s internal audit reports, but did not

actually read them. He also did not read the Cerulean reports.

        189.    Rai also testified in the Merger Litigation that he and other members of Akorn’s

Quality Oversight Committee (which included Defendants Weinstein, Johnson and Tambi) were

“aware of significant and repeat problems that Akorn was having in its quality function” as of

November 2016. Rai further testified that Akorn was experiencing such problems across all of its

sites at that time.

        190.    In June 2016, Defendant Johnson wrote an email to Silverberg raising concerns:

                I continue to be concerned that our position always seems to be that
                FDA got it wrong and we are just fine. I do not think we are fine, I
                think there are signals that we are missing. As the leader of the
                quality function, I do not understand how you can tolerate the
                continued non-compliance by employees, supervisors and quality
                assurance staff. . . . We have do[d]ged a bullet a number of times,
                but at some point, our number will be up unless we, once and for all,
                fix the underlying reasons why our people do not adhere to
                procedures. Why do we not see an effort to do this?

        191.    Silverberg’s response was to request that Johnson and he discuss these issues “on

the phone.” There is no evidence that any further action was taken.

        192.    In December 2016, during a meeting of the Board’s Quality Oversight Committee,

Defendant Johnson “expressed his concern around the repetitiveness of issues between sites and

across sites identified during audits & external inspections.” And Defendant Tambi recognized

that “the implementation of corrective action is lacking or not timely.”

        193.    Silverberg’s scienter is beyond peradventure given his conduct in responding to the

FDA’s CRL for the azithromycin ANDA. Indeed, as Vice Chancellor Laster found in his post-

trial opinion, “Silverberg knew that the CRL would rely on fabricated data but authorized it

anyway because he did not want to withdraw the ANDA and wave a red flag in front of Fresenius

that would call attention to Akorn’s data integrity problems while the Merger was pending.”
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Silverberg reported directly to Defendant Rai.        Silverberg was ultimately fired by Akorn.

Defendant Rai suddenly “retired” following the conclusion of the Merger Litigation.

       194.    Akorn’s improper conduct continued even after the trial of the Merger Litigation.

In September 2018, Akorn was forced to inform the Delaware court that certain Company

documents had been spoliated.       On August 22, 2018, during the pendency of the FDA’s

investigation of Akorn, someone at Akorn’s Somerset, New Jersey facility erased electronic data

relevant to issues raised in a recent FDA Form 483.

       195.    In addition to their knowledge or, at the very least, severe recklessness, the

Individual Defendants had a motive to commit fraud. The Individual Defendants had enormous

financial incentives to have another company acquire Akorn. Defendant Rai stood to receive more

than $14 million if the merger with Fresenius was consummated. Defendant Portwood was in line

to receive $4 million from the consummation of the merger. Weinstein would receive $3.3 million,

Johnson would receive over $5 million, and Tambi would receive $2.5 million.

                               PRESUMPTION OF RELIANCE

       196.    Plaintiffs intend to rely upon the presumption of reliance established by the fraud-

on-the-market doctrine in that, among other things: (a) Defendants made public misrepresentations

or failed to disclose material facts during the relevant time period; (b) the omissions and

misrepresentations were material; (c) Akorn common stock traded in an efficient market; (d) the

misrepresentations alleged would tend to induce a reasonable investor to misjudge the value of

Akorn common stock; and (e) Plaintiffs purchased Akorn common stock, Akorn common stock-

based swaps, and acquired Akorn common stock pursuant to options, between the time Defendants

misrepresented or failed to disclose material facts and the time when the true facts were disclosed,

without knowledge of the misrepresented or omitted facts.



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       197.    The market for Akorn stock was open, well-developed and efficient at all relevant

times. As a result of the aforementioned materially false and misleading statements, Akorn

common stock traded at artificially inflated prices during the relevant period. The artificial

inflation continued until the time the market fully came to realize the nature and extent of

Defendants’ misrepresentations and omissions concerning Akorn’s compliance with FDA

regulations, Akorn’s manufacturing facilities, Akorn’s ANDA pipeline, Akorn’s operations during

the pendency of the merger, Fresenius’s investigation of Akorn’s data integrity, and the

effectiveness of Akorn’s disclosure controls and procedures.

       198.    At all relevant times, the market for Akorn common stock was efficient for the

following reasons, among others: (a) Akorn filed periodic reports with the SEC; (b) Akorn

common stock was listed and actively traded on the Nasdaq; (c) numerous analysts followed

Akorn; and (d) Akorn regularly communicated with public investors via established market

communication mechanisms, including through regular disseminations of press releases on the

major news wire services and through other wide-ranging public disclosures, such as

communications with the financial press, securities analysts and other similar reporting services.

       199.    Plaintiffs and the Assignors purchased Akorn common stock and Akorn common

stock-based swaps, and acquired Akorn common stock pursuant to options, in reliance on the

market price of Akorn common stock, which reflected all the information in the market, including

Defendants’ misstatements.

                             PLAINTIFFS’ ACTUAL RELIANCE

       200.    During the relevant period, Twin Masters’, Twin Opportunities’, and the

Assignors’ investments in Akorn securities were managed by Twin Securities. Twin Securities

made the investment decisions with respect to Twin Masters’, Twin Opportunities’, and the

Assignors’ purchases and acquisitions of Akorn common stock and Akorn common stock-based
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swaps. Factors considered by Twin Securities in making such decisions included, among other

things, Akorn’s purported regulatory compliance and a review of the Company’s strengths,

weaknesses and opportunities.

       201.    Prior to Twin Securities making the decision to purchase or acquire Akorn common

stock and Akorn common stock-based swaps on behalf of Plaintiffs and the Assignors, a Twin

Securities investment analyst actually and justifiably read, reviewed and relied upon (to the extent

the referenced documents had been published at the time) Akorn’s 2016 Annual Report, 2017 First

Quarter Report, 2017 Second Quarter Report, 2017 Third Quarter Report, 2017 Annual Report,

2018 First Quarter Report, 2018 Second Quarter Report, the Merger Announcement, the Merger

Proxy Statement, the Merger Agreement, the December 12, 2016 Press Release, the February 28,

2017 Press Release, the March 1, 2017 Press Release, and Akorn’s website, including (as

applicable) statements concerning Akorn’s compliance with FDA regulations, Akorn’s

manufacturing facilities, Akorn’s ANDA pipeline, Akorn’s operations during the pendency of the

merger, Fresenius’s investigation of Akorn’s data integrity, and the effectiveness of Akorn’s

disclosure controls and procedures.

       202.    Prior to Twin Securities making the decision to purchase or acquire Akorn common

stock and Akorn common stock-based swaps on behalf of Plaintiffs and the Assignors, the

investment analyst at Twin Securities also actually and justifiably listened to or read and relied

upon the statements made by Defendants Rai and Portwood (to the extent the referenced statements

had been made at the time) during the November 3, 2016 earnings call, the November 29, 2016

Piper Jaffray Healthcare Conference, and the March 1, 2017 earnings call, including (as

applicable) statements concerning Akorn’s manufacturing facilities and Akorn’s ANDA pipeline.




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       203.    Defendants’ statements concerning Akorn’s compliance with FDA regulations,

Akorn’s manufacturing facilities, Akorn’s ANDA pipeline, Akorn’s operations during the

pendency of the merger, Fresenius’s investigation of Akorn’s data integrity, and the effectiveness

of Akorn’s disclosure controls and procedures were material to Twin Securities’ decision to

purchase or acquire Akorn common stock and Akorn common stock-based swaps on behalf of

Plaintiffs and the Assignors.

       204.    Twin Securities actually and justifiably relied upon information contained in

(and/or statements made during, as applicable) Akorn’s 2016 Annual Report, 2017 First Quarter

Report, 2017 Second Quarter Report, 2017 Third Quarter Report, 2017 Annual Report, 2018 First

Quarter Report, and 2018 Second Quarter Report, the Merger Announcement, the Merger Proxy

Statement, the Merger Agreement, the December 12, 2016 Press Release, the February 28, 2017

Press Release, the March 1, 2017 Press Release, Akorn’s website, the November 3, 2016 earnings

call, the November 29, 2016 Piper Jaffray Healthcare Conference, and the March 1, 2017 earnings

call, (to the extent each such document was on file with the SEC, or the referenced statements had

been made, as applicable, at the time) in making each purchase and acquisition set forth on Exhibits

A through C on behalf of Plaintiffs and the Assignors.

                                      LOSS CAUSATION

       205.    As the truth about Akorn’s widespread regulatory violations, pervasive compliance

problems, and sham control environment gradually and slowly leaked into the market, the price of

Akorn common stock dropped precipitously.

       206.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiffs and the Assignors. During the time that Plaintiffs and the

Assignors purchased and acquired Akorn common stock and Akorn common stock-based swaps,



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as set forth in Exhibits A through C, the market price of those securities was artificially inflated as

a direct result of Defendants’ materially false and misleading statements and omissions.

         207.   As a series of partial but inadequate disclosures was issued correcting the prior false

and misleading statements and omissions with respect to Akorn’s widespread regulatory

violations, pervasive compliance problems, and sham control environment – and as the risks

previously concealed by Defendants’ material misstatements and omissions gradually materialized

– the price of Akorn stock declined precipitously, and Plaintiffs and the Assignors were damaged.

         208.   On February 26, 2018, after the markets closed, Fresenius released a press release

concerning its 2017 yearend result, which also included a statement revealing that it was

conducting an independent investigation of Akorn based on “alleged breaches of FDA data

integrity requirements relating to product development,” and that the closing of the merger “may

be affected” based on the results of the investigation. Fresenius’s statement concerning Akorn

read:

                Fresenius is conducting an independent investigation, using external
                experts, into alleged breaches of FDA data integrity requirements
                relating to product development at Akorn, Inc. The Management
                and Supervisory Boards of Fresenius will assess the findings of that
                investigation. The consummation of the transaction may be affected
                if the closing conditions under the merger agreement are not met.
                Fresenius does not intend to provide further updates as the
                investigation proceeds. Fresenius continues to seek FTC clearance.

         209.   This announcement caused the price of Akorn’s stock to plummet. At the close of

the market on February 27, 2018, Akorn’s stock price fell to $18.65 per share, down 38.4% from

the previous day’s closing price of $30.28 per share.

         210.   Notwithstanding its knowledge of serious and widespread data-integrity flaws,

Akorn responded to Fresenius’s statement by stridently denying that there was any truth to




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Fresenius’s allegations and informing market that the closing of the merger was not in jeopardy.

Akorn’s statement read as follows:

               Akorn and Fresenius Kabi AG, with the assistance of outside
               consultants, are investigating alleged breaches of FDA data integrity
               requirements relating to product development at the Company. To
               date, the Company’s investigation has not found any facts that
               would result in a material impact on Akorn’s operations and the
               Company does not believe this investigation should affect the
               closing of the transaction with Fresenius. The Company does not
               intend to provide further updates as the investigation proceeds. The
               Company is continuing to work to obtain regulatory clearance for
               the transaction.

       211.    After Fresenius’s confidential investigation of Akorn revealed to Fresenius (but not

to the public) widespread noncompliance and data-integrity issues at Akorn, on Sunday, April 22,

2018, Fresenius gave Akorn notice that it was terminating the Merger Agreement. Fresenius’s

press release announcing the termination stated in pertinent part:

               Fresenius has decided today to terminate the company’s merger
               agreement with Akorn, due to Akorn’s failure to fulfill several
               closing conditions.

               Fresenius’ decision is based on, among other factors, material
               breaches of FDA data integrity requirements relating to Akorn’s
               operations found during Fresenius’ independent investigation.
               Fresenius offered to delay its decision in order to allow Akorn
               additional opportunity to complete its own investigation and present
               any information it wished Fresenius to consider, but Akorn has
               declined that offer.

       212.    Akorn’s stock price again plummeted in response to this news. On April 23, 2018,

Akorn’s stock price closed at $13.05 per share, down 33.8% from the previous trading day’s

closing price of $19.70 per share.

       213.    Again, however, Akorn publicly responded to Fresenius’s disclosure with a

“categorical” denial of Fresenius’s allegations, stating:

               We categorically disagree with Fresenius’ accusations. The
               previously disclosed ongoing investigation, which is not a condition

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               to closing, has not found any facts that would result in a material
               adverse effect on Akorn’s business and therefore there is no basis
               to terminate the transaction. We intend to vigorously enforce our
               rights, and Fresenius’ obligations, under our binding merger
               agreement.

       214.    During the course of the Merger Litigation, more negative information concerning

Defendants’ public misrepresentations was revealed to the market, and the foreseeable risks

previously concealed by Defendants’ material misstatements and omissions further materialized.

       215.    On May 2, 2018, during trading hours, Reuters released an article summarizing the

contents of Fresenius’s previously sealed court filings. The article revealed that Fresenius believed

that it had “uncovered ‘blatant fraud at the very top level’” of Akorn. Reuters reported that

“Fresenius [had] alleged that an Akorn executive vice president for quality assurance . . .

knowingly directed the submission of fraudulent testing data to the U.S. Food and Drug

Administration.” In response to this news, the price of Akorn’s stock fell again. On May 1, 2018,

Akorn common stock closed at a price of $14.76 per share. On May 2, 2018, it declined by 15%,

closing at a price of $12.55 per share.

       216.    On August 23, 2018, Vice Chancellor Laster held post-trial oral argument. During

the argument, the Vice Chancellor asked questions that led observers to believe and publicly report

that things were not going well for Akorn. In response to this news, Akorn’s common stock

decreased in price $3.18 per share, or 17.56%, from the prior day’s closing price.

       217.    On October 1, 2018, Vice Chancellor Laster issued his post-trial decision. The

court found that Fresenius had validly terminated the Merger Agreement because Akorn violated

its compliance representations and its covenant to continue to conduct its business in the ordinary

course during the pendency of the merger. The court determined that Akorn’s breaches of its

compliance representations were material because they amounted to approximately $900 million

in economic harm. The price of Akorn’s stock dropped precipitously – losing more than half of
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its value – in response to the release of the post-trial decision. Specifically, on the prior trading

day, September 28, 2018, Akorn common stock closed at a price of $12.98. By the close of trading

on October 1, 2018, the stock price closed at $5.36 per share (down 58.71%).

       218.    Yet the truth about Akorn’s FDA noncompliance was still not completely revealed.

On January 4, 2019, Akorn received a warning letter from the FDA related to an inspection of

Decatur. When Akorn disclosed the existence of this letter on January 9, 2019, its stock price

dropped even lower. The stock lost another 11.68% in value, closing at a price of $3.48 per share,

down $0.46 from the prior day’s closing price.

                                      NO SAFE HARBOR

       219.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The specific statements pleaded herein were not “forward-looking statements” nor were they

identified as “forward-looking statements” when made. Nor was it stated with respect to any of

the statements forming the basis of this Complaint that actual results “could differ materially from

those projected.” To the extent there were any forward-looking statements, there were no

meaningful cautionary statements identifying important factors that could cause actual results to

differ materially from those in the purportedly forward-looking statements. Alternatively, to the

extent that the statutory safe harbor does apply to any forward-looking statements pleaded herein,

Defendants are liable for those false forward-looking statements because at the time each of those

forward-looking statements was made, the particular speaker knew that the particular forward-

looking statement was false, and/or the forward-looking statement was authorized and/or approved

by an executive officer or director of Akorn who knew that those statements were false when made.




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                                            COUNT I

                Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                                    Against All Defendants

       220.     Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

       221.     Count I is brought against Defendants Akorn, Rai, Portwood, Weinstein, Johnson,

and Tambi for violations of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j, and Rule 10b-5

promulgated thereunder, 17 C.F.R. § 240.10b-5.

       222.     Defendants Akorn, Rai, Portwood, Weinstein, Johnson, and Tambi, both directly

and indirectly, used the means and instrumentalities of interstate commerce in the United States to

make the materially false and misleading statements and omissions of material fact alleged herein

to: (a) deceive the investing public, including Plaintiffs and the Assignors, as alleged herein; (b)

artificially inflate and maintain the market price of Akorn common stock; and (c) cause Plaintiffs

and the Assignors to purchase and acquire Akorn common stock and Akorn common stock-based

swaps at artificially inflated prices. In furtherance of this unlawful scheme, plan and course of

conduct, Defendants Akorn, Rai, Portwood, Weinstein, Johnson, and Tambi took the actions set

forth above.

       223.     Defendants Akorn, Rai, Portwood, Weinstein, Johnson, and Tambi, both directly

and indirectly: (a) employed devices, schemes and artifices to defraud; (b) made untrue statements

of material fact and/or omitted to state material facts necessary to make the statements not

misleading; and (c) engaged in acts, practices, and a course of business that operated as a fraud

and deceit upon the purchasers and acquirers of Akorn common stock and Akorn common stock-

based swaps in an effort to artificially inflate and maintain the market prices for Akorn common

stock in violation of Section 10(b) of the Exchange Act and Rule 10b-5.


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       224.    By virtue of their high-level positions at the Company and on the Board, Rai,

Portwood, Weinstein, Johnson, and Tambi were authorized to make public statements, and made

public statements on Akorn’s behalf. These senior executives and Board members were privy to

and participated in the creation, development, and issuance of the materially false and misleading

statements alleged herein, and/or were aware of the Company’s and their own dissemination of

information to the investing public that they knew or recklessly disregarded was materially false

and misleading.

       225.    In addition, Defendants Akorn, Rai, Portwood, Weinstein, Johnson, and Tambi had

a duty to disclose (a) truthful information necessary to render their affirmative statements not

materially misleading so that the market price of the Company’s securities would be based on

truthful, complete and accurate information; and (b) in Akorn’s periodic filings with the SEC,

under Item 303 of Regulation S-K, “any known trends or uncertainties that have had or that the

registrant reasonably expects will have a material favorable or unfavorable impact on net sales or

revenues or income from continuing operations.”

       226.    Defendants Akorn, Rai, Portwood, Weinstein, Johnson, and Tambi acted with

knowledge or reckless disregard for the truth of the misrepresented and omitted facts alleged

herein, in that they failed to ascertain and disclose the facts, even though such facts were known

or readily available to them. Defendants Akorn’s, Rai’s, Portwood’s, Weinstein’s, Johnson’s, and

Tambi’s material misrepresentations and omissions were done knowingly and/or recklessly, and

had the effect of concealing the truth with respect to Akorn’s operations, business, performance

and prospects from the investing public, including misrepresenting the truth about Akorn’s

compliance with FDA regulations, Akorn’s manufacturing facilities, Akorn’s ANDA pipeline,

Akorn’s operations during the pendency of the merger, Fresenius’s investigation of Akorn’s data



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integrity, and the effectiveness of Akorn’s disclosure controls and procedures. By concealing these

material facts from investors, Defendants Akorn, Rai, Portwood, Weinstein, Johnson, and Tambi

supported the artificially inflated price of Akorn’s common stock.

        227.    The dissemination of the materially false and misleading information and failure to

disclose material facts, as set forth above, artificially inflated the market price of Akorn’s common

stock. In ignorance of the fact that the market prices were artificially inflated, and relying directly

or indirectly upon the materially false and misleading statements made by Defendants, and upon

the integrity of the market in which the Company’s securities trade, or upon the absence of material

adverse information that was known to or recklessly disregarded by Defendants, but not disclosed

in public statements by Defendants, Plaintiffs and the Assignors purchased Akorn common stock

and Akorn common stock-based swaps, and acquired Akorn common stock pursuant to options,

at artificially inflated prices. As a series of partial but inadequate disclosures were issued, the price

of Akorn’s securities substantially declined.

        228.    At the time of the material misrepresentations alleged herein, Plaintiffs and the

Assignors were ignorant of their falsity, and believed them to be true. Had Plaintiffs and the

Assignors known the truth with respect to the business, operations, performance and prospects of

Akorn, which was concealed by Defendants, Plaintiffs and the Assignors would not have

purchased Akorn common stock, or if they had purchased such securities, they would not have

done so at the artificially inflated prices that they paid.

        229.    By virtue of the foregoing, Defendants Akorn, Rai, Portwood, Weinstein, Johnson,

and Tambi have violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated

thereunder.




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        230.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

the Assignors have suffered damages in connection with their transactions in the Company’s

securities.

        231.   Taking into account, inter alia, tolling of the limitations period by the filing of the

class action complaint against Defendants in the Class Action, Plaintiffs have brought this claim

within two years of discovery of the violations alleged herein, and within five years of the

violations alleged herein. Consequently, this action is timely.

                                            COUNT II

                        Violations of Section 20(a) of the Exchange Act
                              Against the Individual Defendants

        232.   Plaintiffs repeat and reallege each and every allegation contained in each of the

foregoing paragraphs as if set forth fully herein.

        233.   Count II is asserted against Defendants Rai, Portwood, Weinstein, Johnson, and

Tambi and is based upon Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

        234.   Each of Defendants Rai, Portwood, Weinstein, Johnson, and Tambi was a

controlling person of Akorn within the meaning of Section 20(a) of the Exchange Act.

        235.   By virtue of their high-level positions and Board membership, and their ownership

and contractual rights, substantial participation in, and/or awareness of, the Company’s operations

and/or knowledge or reckless disregard of the materially false and misleading statements and

material omissions disseminated to the investing public, Defendants Rai, Portwood, Weinstein,

Johnson, and Tambi had the power to influence and control, and did in fact influence and control,

directly or indirectly, the decision-making of the Company.

        236.   Defendants Rai, Portwood, Weinstein, Johnson, and Tambi were provided with or

had unlimited access to copies of the Company’s reports, press releases, public filings, and other


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statements alleged herein to be materially false and misleading prior to and/or shortly after these

statements were issued and had the ability to prevent the issuance of the statements of cause the

statements to be corrected. In particular, Defendants Rai, Portwood, Weinstein, Johnson, and

Tambi each had direct and/or supervisory involvement in the day-to-day operations of the

Company, and therefore are presumed to have had the power to control or influence the particular

false and misleading statements and omissions giving rise to the securities violations alleged

herein.

          237.   Defendants Rai, Portwood, Weinstein, Johnson, and Tambi culpably participated

in Akorn’s violation of Section 10(b) and Rule 10b-5 with respect to the First Cause of Action.

          238.   By reason of the conduct alleged Count I, Akorn is liable for violations of Section

10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, and Defendants Rai,

Portwood, Weinstein, Johnson, and Tambi are liable pursuant to Section 20(a) based on their

control of Akorn.

          239.   Defendants Rai, Portwood, Weinstein, Johnson, and Tambi are liable for the

aforesaid wrongful conduct, and are liable to Plaintiffs for the substantial damages suffered in

connection with their and the Assignors’ purchases and acquisitions of Akorn common stock and

Akorn common stock-based swaps.

          240.   Taking into account, inter alia, tolling of the limitations period by the filing of the

class action complaint against Defendants in the Class Action, Plaintiffs have brought this claim

within two years of discovery of the violations alleged herein, and within five years of the

violations alleged herein. Consequently, this action is timely.




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                                             COUNT III

                             Violations of Section 18 of the Exchange Act
                                        Against All Defendants

          241.   Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

through 158, 172 through 181, and 200 through 219 above as if set forth herein.

          242.   As alleged herein, Defendants caused statements to be made in Akorn’s 2016

Annual Report, and the SOX certifications filed with that report, that were, at the time and in light

of the circumstances under which they were made, false or misleading with respect to material

facts.

          243.   As alleged herein, Defendants caused statements to be made in Akorn’s 2017

Annual Report, and the SOX certifications filed with that report, that were, at the time and in light

of the circumstances under which they were made, false or misleading with respect to material

facts.

          244.   As alleged herein, Defendants caused statements to be made in Item 4 of, and the

SOX certifications filed with, Akorn’s 2017 First Quarter Report, 2017 Second Quarter Report,

2017 Third Quarter Report, 2018 First Quarter Report, and 2018 Second Quarter Report that were,

at the time and in light of the circumstances under which they were made, false or misleading with

respect to material facts.

          245.   In purchasing Akorn common stock and Akorn common stock-based swaps, and

acquiring Akorn common stock pursuant to options, Plaintiffs’ investment team actually and

justifiably read, and had direct eyeball reliance on, Akorn’s 2016 Annual Report, 2017 First

Quarter Report, 2017 Second Quarter Report, 2017 Third Quarter Report, 2017 Annual Report,

2018 First Quarter Report, and 2018 Second Quarter Report (to the extent published at the time of

purchase).


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        246.    Specifically, an investment analyst at Twin Securities read and actually relied upon

information contained in Akorn’s 2016 Annual Report, 2017 First Quarter Report, 2017 Second

Quarter Report, 2017 Third Quarter Report, 2017 Annual Report, 2018 First Quarter Report, and

2018 Second Quarter Report (to the extent each such document was on file with the SEC at the

time) in making each purchase set forth on Exhibits A through C on behalf of Plaintiffs and the

Assignors, as further described above in paragraphs 200 through 204.

        247.    In ignorance of the falsity of Defendants’ statements, or of the true facts, Plaintiffs

and the Assignors purchased Akorn common stock and Akorn common stock-based swaps, and

acquired Akorn common stock pursuant to options, in actual, justifiable, eyeball reliance upon

Defendants’ representations.

        248.    Defendants’ materially false and misleading statements and omissions of material

fact artificially inflated the price of Akorn securities.

        249.    Had they known the true facts, Plaintiffs and the Assignors would not have

purchased Akorn common stock and Akorn common stock-based swaps, and would not have

acquired Akorn common stock pursuant to options, and/or would not have paid the inflated prices

they paid.

        250.    Upon disclosure of the true facts, the price of Akorn common stock dropped, and

Plaintiffs and the Assignors suffered damages in an amount to be proven at trial.

        251.    By reason of the foregoing, Defendants are liable to Plaintiffs for violations of

Section 18 of the Exchange Act, 15 U.S.C. §78r.

        252.    Taking into account, inter alia, tolling of the limitations period by the filing of the

class action complaint against Defendants in the class action, Plaintiffs have brought this claim




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within two years of discovery of the violations alleged herein, and within five years of the

violations alleged herein. Consequently, this action is timely.

                                            COUNT IV

                                      Common Law Fraud
                                     Against All Defendants

         253.   Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

         254.   As alleged above, Defendants Akorn, Rai, Portwood, Weinstein, Johnson, and

Tambi made material misrepresentations of material fact and/or omitted material facts as set forth

above.

         255.   These misrepresentations and/or omissions were made intentionally, or at a

minimum, recklessly, to induce reliance thereon by Plaintiffs and the Assignors when making

decisions to invest in Akorn securities.

         256.   These misrepresentations and/or omissions constitute fraud and deceit under the

common law.

         257.   Plaintiffs and the Assignors actually and reasonably relied upon the representations

and/or omissions when making decisions to purchase Akorn securities and did not know of any of

the misrepresentations or omissions.

         258.   As a direct and proximate result of the fraud and deceit by Defendants Akorn, Rai,

Portwood, Weinstein, Johnson, and Tambi, Plaintiffs and the Assignors suffered damages in

connection with their investment in Akorn securities.

         259.   Defendants’ wrongful conduct, as described above, was malicious, reckless,

willful, and was directed at the general investing public. Accordingly, punitive damages, in

addition to compensatory damages, are appropriate to deter fraudulent conduct of this kind.


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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request relief and judgment, as follows:

       (a) Awarding compensatory damages against Defendants for all damages sustained as a

result of Defendants’ wrongdoing, in an amount to be proven at trial, including pre-judgment and

post-judgment interest thereon;

       (b) Awarding punitive damages against Defendants;

       (c) Awarding Plaintiffs their reasonable costs and expenses incurred in this action; and

       (d) Awarding such other and further relief as the Court may deem just and proper.

                                        JURY DEMAND

       The Plaintiffs hereby demand a trial by jury as to all issues so triable.


Dated: May 31, 2019




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                                        Respectfully submitted,

                                        TWIN MASTER FUND, LTD., TWIN
                                        OPPORTUNITIES FUND, L.P. and TWIN
                                        SECURITIES, INC.

                                        By:     /s/ Andrew D. Campbell
                                                One of Their Attorneys

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